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                    EXHIBIT A
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           SUPREME                     COURT               OF THE           STATE                 OF NEW                YORK
           COUNTY                 OF NEW                 YORK
            KHAN             FUNDS              MANAGEMENT
            AMERICA,                   INC.          and     XUEFENG                     DAI,                         Index         No.:


                                          Plaintiffs,                                                                 SUMMONS

                          v.                                                                                          Plaintiffs           designate         New
                                                                                                                      York       County          as the place
            NATIONS                TECHNOLOG1ES                            INC.,                                      For     trial.
            NATIONS                TECHNOLOGIES                             (USA)               INC.,
            YINGTONG                    SUN,            ZHAOXUE                     LUO,                              The     basis        for   venue        is
            BAOXIN                HUANG,                 JUNEE           YU,         and DOES                         CPLR          503(a)       and     503(c).

            1-20,


                                          Defendants.



           TO THE              ABOVE                  NAMED             DEFENDANTS:


                         YOU ARE                     HEREBY              SUMMONED                              to answer            the annexed              Complaint            in this      action     and


           to    serve       a copy             of    your     Answer               on    the      undersigned                 attorneys          for    plaintiffs           within         twenty       (20)


           days      after       the    service            of this      summons,                 exclusive            of the         day     of service,            or within       thirty      (30)     days


           after     service           is complete                if   service           is made          by      any        method          other      than        personal        delivery          to you


           within        the      State         of New         York.           If    you         fail    to     appear         or      answer,        judgment             will   be taken            against


           you      by   default          for        the relief        demanded                 in the        Complaint.


           Dated:        Garden           City,        New York
                         April         6, 2022
                                                                                                          KENNETH                       S. FERARU,                  P.C.


                                                                                                          By:               /s/ Kenneth              S. Feraru
                                                                                                                       Kenneth             Feraru,      Esq.
                                                                                                                        1225        Franklin         Ave.,         Ste.    325
                                                                                                                       Garden           City,    New         York         11530
                                                                                                                       P: (516)535-3333
                                                                                                                       KFeraruesq@aol.com




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                                                                            LAW        OFFICES                OF WEI           GU,      ESQ.,       P.C.


                                                                            By:          /s/ Wei        Gu
                                                                                      Wei      Gu,     Esq.
                                                                                      13514          Northern         Blvd.,     Fir.   2

                                                                                      Flushing,          New         York      11354
                                                                                      P: (718)         600-6886
                                                                                      WeiGulaw@gmail.com


                                                                            Attorneys          for    Plaintiffs


          To:   NATIONS             TECHNOLOGIES                    INC.                NATIONS                TECHNOLOGIES                         (USA)        INC.
                National       Technology           Building,     No.      109          3509         Langdon          Common
                Baoshen        Road,       Gaoxin      North    District                Fremont,          California           94538
                Nanshan        District
                Shenzhen        Guangdong            518057
                P.R.   China


                YINGTONG                  SUN                                           YINGTONG                     SUN
                National       Technology     Building,           No.      109          3509         Langdon          Common
                Baoshen        Road,   Gaoxin    North          District                Fremont,          California           94538
                Nanshan        District
                Shenzhen        Guangdong            518057
                P.R.   China


                ZHAOXUE              LUO                                                BAOXIN               HUANG
                National       Technology           Building,     No.      109          National         Technology     Building,                 No.      109
                Baoshen        Road,   Gaoxin          North    District                Baoshen          Road,   Gaoxin    North                District
                Nanshan        District                                                 Nanshan           District
                Shenzhen        Guangdong            518057                             Shenzhen           Guangdong              518057
                P.R.   China                                                            P.R.     China


                JUNJIE         YU
                National       Technology     Building,           No.      109
                Baoshen        Road,   Gaoxin    North          District
                Nanshan        District
                Shenzhen        Guangdong            518057
                P.R.   China




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          SUPREME                     COURT               OF THE              STATE               OF NEW YORK
          COUNTY                   OF NEW              YORK
              KHAN           FUNDS             MANAGEMENT
              AMERICA,                 INC.         and     XUEFENG                      DAI,                    Index         No.:


                                            Plaintiffs,


                            v.                                                                                   VERIFIED                   COMPLAINT


           NATIONS                  TECHNOLOGIES                             INC.,
           NATIONS                  TECHNOLOGIES                             (USA)              INC.,
              YINGTONG                   SUN,          ZHAOXUE                    LUO,
              BAOX1N               HUANG,              JUNJIE              YU,      and DOES

              1-20,


                                            Defendants.



                           Plaintiffs,          KHAN             FUNDS               MANAGEMENT                              AMERICA,                INC.       ("KHAN               FUNDS")                  and


          XUEFENG                     DAI       ("DAI")              (together             with          KHAN         FUNDS,               "Plaintiffs"),            bring          this        Complaint


          against                 defendants,                 NATIONS                       TECHNOLOGIES                               INC.            ("NATIONS"),                             NATIONS


          TECHNOLOGIES                              (USA)            INC.         ("NATIONS                USA"),             Y1NGTONG                  SUN          ("SUN"),              ZHAOXUE


          LUO              ("LUO"),             BAOXIN                 HUANG                     ("HUANG"),                   JUNME             YU          ("YU")            and          DOES           1-20


          (collectively,               "Defendants"),                  and        allege         as follows:


                                                                                  NATURE                 OF THE              ACTION


          L                RICO          ALLEGATIONS


                            1.           In     this        action,          Plaintiffs             seek        to     end      an        illegal      pattern           of     racketeering                   by


          Defendants                  and      seek         relief         from          ongoing          unlawful            activity.             Defendants                have         harmed             and

                                                                                                                                                                                                Plaintiffs'
          continue               to harm       Plaintiffs,            and        their     racketeering              enterprise           remains           a direct      threat           to


          interests.


                           2.            Defendants                  and     others             sought     to    illicitly       procure            protected           technologies                for       end


          use         in    China,            and      to     that         end,          Defendants             recruited,            solicited,            financed,           and         managed              a


          worldwide                 network            of      individuals                 and      entities         in      New      York,          California,              and      elsewhere               in




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           furtherance                   of       their          scheme.             Defendants                  and        others           committed              multiple             predicate                acts      of


           racketeering                    activity          on multiple               occasions                and    in violation                of various         federal             and      state        statutes,


           including               the          misappropriation                     of      certain        commodities                      and    technologies                 in     violation               of,     inter

                                                                                                                                                 ("IEEPA"
           alia,       the      International                      Emergency                Economic                 Powers            Act                           or    the        "Economic                   Powers


           Act"),          50 U.S.C.                    § 1701        et     seq.,          which        restricts           the       export        of     commodities                   and        technologies


           outside           the      United              States;      the        unlawful          laundering                of racketeering                proceeds              in violation                 of,     inter


           alia,       18 U.S.C.                  § 1956;           and     the     commission                  of extortionate                    and    solicitation             schemes            in violation


           of,     inter      alia,         18 U.S.C.               § 1951,         New York               Penal           Law      § 155.05(2)(e),                 and      18 U.S.C.               § 1831.


                           3.                   For       more       than         a decade           and        in    a plan           which        is ongoing,             Defendants                 and            others


           worked            in       concert             with       one       another,            committing                 numerous              and      repeated             violations            of        various


           federal           and      state           statutes.        Defendants                  knowingly               agreed        to carry          out     a scheme             to solicit,             defraud,


           and       harm           Plaintiffs               economically                    and       otherwise              through              a pattern          of     interstate              racketeering


           activity,            which             included            the         operation            and/or          management                   of     a RICO            enterprise               constituting


           LUO,            SUN,               HUANG,                 and       YU           (the     "Individual                 Members"),                 together             with        NATIONS                     and


           NATIONS                   USA           (the      "Corporate                Members")                and        others       known            and unknown.


           II.             OVERVIEW                              OF THE             ENTERPRISE


                           4.                   Beginning             on       a date          unknown,                but       no      later      than      in     or     around           June          2011          and



           continuing                 through              the     date      of     this     Complaint,                in New           York        County          and      elsewhere,               Defendants


           and       others           entered               into     a scheme                 to    illicitly         acquire           protected            technologies                   from       companies


           headquartered                         or       with       offices           in     the      United              States        and        elsewhere              for        end       use        in         China.


           Defendants                    and           several        of       their         associates               share         long-standing                  personal,              professional,                   and


           financial               ties,         and       these          pre-existing               affiliations                and     common              ties      facilitated              the        ability          of


           Defendants                      to      combine,                merge,            and       conspire              with        themselves                 and          others         to     form             their




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           racketeering               enterprise                 with      the           common                purpose                of illicitly             procuring               protected          technologies              for


           end     use     in China               (hereinafter                 referred                to as the "Enterprise").


                          5.                Defendants                    and             other            members                    of        the        Enterprise                 committed               deliberate            and


           repeated            acts         of        misappropriation                               and       the       illicit           procurement                    of      protected              commodities                and


           technologies                from             locations              in        the        United           States           and        elsewhere,                and         each        received        income         and


           other       benefits             and        enriched           themselves                        directly               and      indirectly                from       such         efforts.        To    support         the


           Enterprise,               Defendants                   recruited,                   solicited,             groomed,                    financed,               and      managed               various       business,


           finance,        science,                   and     technology                   professionals                       like        DAI         to illicitly              access         and      acquire      protected


           technologies,                   and         Defendants                   conspired                  to recruit,                  solicit,          direct,           and     incentivize            Plaintiffs         and


           others        to commit                    crimes         in furtherance                        of Enterprise                    objectives.


                          6.                At        the     time       the        Enterprise                 sought              to solicit              and        recruit         Plaintiffs         to the     Enterprise,


           DAI       was        a renowned                      hedge           fund            manager               who            would             establish             KHAN              FUNDS             as the      global


           headquarters                for        his        businesses                   in        New        York           County.                  KHAN              FUNDS              served         as the      umbrella


           company              to    all        of     DAI's          affiliated                   entities         located               in    China,           Singapore,                and       elsewhere,            and     the


           financial           strength                and      reputation                     of    KHAN                FUNDS                  and        DAI          presented              the    Enterprise           with      an


           opportunity                to     use            Plaintiffs              to     facilitate                the       illicit          acquisition                of     protected              technologies             and


           launder         the proceeds                      of illegal             racketeering                     activity              and        finance           the Enterprise.


                          7.                Beginning                  on a date                    unknown              but        no later           than       in or around                  May       2014      through         no


           earlier       than         in     or         around           November                       2017,            in        New          York          County             and       elsewhere,              Defendants,


           together            with         others,            knowingly                       and      with          the          intent         to       solicit,        recruit,           and     defraud         Plaintiffs,

                                                                                                                                                                                Plaintiffs'
           devised,             participated                     in,      and              executed                  a        scheme                  to      solicit                                    membership               and


           participation               in        the        Enterprise,                  defraud               Plaintiffs                as to         material              matters,           and      to   use     threats         of


           force       to compel                 Plaintiffs              to commit                     multiple               crimes             in    furtherance                of     the       Enterprise,        including




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           the      illicit         acquisition                  of     protected                technologies                    in    violation              of    the      Economic                 Powers             Act     and


           crimes             indictable                 under        Title           18, United           States          Code,           Sections           1343         (relating          to wire         fraud),           1344



           (relating               to financial               institution                fraud),         1831          (relating            to economic                    espionage),                1832        (relating          to


           theft      of trade                secrets),          and         1956        (relating          to the          laundering               of monetary                   instruments).                  Defendants


           and       others             further           devised,               participated              in,        and     executed               a scheme                to     extort         RMB        300,000,000


           from        Plaintiffs                  in violation                  of    18 U.S.C.            § 1951            and       New         York           Penal          Law      § 155.05(2)(e)                  by     use


           of      threats              of     force,        violence,                   and      fear      in        an     effort          to    use        Plaintiffs             to      launder          racketeering


           proceeds                of        the    Enterprise                   and     finance           members                of the          Enterprise,                in    furtherance               of     Enterprise


           objectives.


           III.               THE            OBSTRUCTION                                 AND         RETALIATION                               SCHEME                     AND           OTHER              HARM

                              8.               Beginning                    in        September            2017,            DAI         immediately                   reported               the     criminal            activity,


           solicitation                 efforts,           and        extortionate               scheme               of the Enterprise                    to the New                York          Field      Office           of the


           Federal             Bureau               of    Investigation                   (the     "FBI")              and       initiated           investigatory                  proceedings                 with       United


           States         Department                       of Justice's                 ("DOJ")            prosecutors                 at the        United              States      Attorney's               Office           in the


           Southern                District              of New         York.


                              9.               Beginning                    on        a date       unknown                  but       no     later       than         in     or      around           November                  2017


           through              no        earlier          than        in        or    around         September                   2021            and    continuing                  through           the        date     of    this


           Complaint,                   Defendants,                   together            with       others,           did       knowingly,              intentionally,                   and       corruptly            conspire


           to inflict              harm            upon      DAI            using         the     tactic         of    criminalizing                    DAI         and      forcibly              repatriating            him       to

                                                                                  Defendants'
           the     PRC.              In       furtherance                of                                 scheme                to inflict            harm        upon          DAI,        Defendants                 adopted


           the     telltale             tactics           of a forced                  repatriation              scheme,              by     providing               false        information                that      DAI       had


           committed                    various            acts       of criminal                wrongdoing                   as a means                 to cause             the       issuance,          and       thereafter


           the     global            broadcast,                  of    an arrest            warrant          for        DAI           in the       PRC,            and     then         activated          a campaign                to




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           surveil         DAI          and     collected                certain            photo       and/or          video           evidence            in    the        State     of    New       York          about


           and         concerning             DAI.


                           10,           As       set forth              herein,            non-party              culpable             person        Yi-Chi            Shih        ("Shih")         was       arrested


           by    federal          authorities               in January                2018      for        violations           of,      inter     alia,         the    Economic               Powers         Act,     and

                                                                           Plaintiffs'
           approximately                  one         year        into                              cooperation               with        the    FBI       and         the United            States     Attorney's


           Office,         including              disclosure                   of     defendant              LUO's            relationship                 with         non-party              culpable         person


           Yaping          Chen         ("Chen"),                 Chen         and      others          were        indicted            on October                18, 2018,            in the United                States


           District         Court        for      the       Central            District         of California                 in the        case       titled,         United          States      of America                v.


           Yi-Chi          Shih,        et al.,       CR No.              18-00050              (the        "Shih         Matter").              As      set forth           herein,         LUO       admitted              to


           fmancing              and      supervising                    Chen          in    furtherance                of    Enterprise               business,              and      in    the     Shih       Matter,


           Chen          was      indicted            as a co-conspirator                            for     his     work          in    connection               with        the      unlawful            scheme         to


           illicitly       procure            and         export         restricted            commodities                   and        technologies               in violation              of the        Economic


           Powers          Act.         Upon          information                    and      belief,        Chen         caused           substantial                 sums      of money             provided            by


           the     Enterprise            to be deposited                        in the        name          of an offshore                  shell        company               organized             in the     British


           Virgin         Islands,         and        Chen,          at the direction                      of LUO            and        SUN,      directed             these       funds       to ultimately              be


           distributed             to    other            members               of     the                                                       Shih.           NATIONS                USA          and     the      non-
                                                                                               Enterprise,                including


           party         culpable             entities          in       the        State      of     New          York        associated                with          the     Enterprise            serve          as the


           domestic            nerve          centers           of the          Enterprise                 and     helped          facilitate          the       operation             and      management                of


           Enterprise              affairs           in     the      United             States,            including            exercising               oversight              over         Shih,      Chen,          and


           others.         Thus,         LUO              and     SUN,          in their            capacity         as the           ringleaders            of the           Enterprise,            financed          and


           directed         Chen         using            Enterprise                 funds      provided             by      NATIONS                  and        others,        and     in turn,        Chen         used


           Enterprise              funds         to       finance          and         pay      Shih         and       other          co-conspirators                    as compensation                      for     their


           work          in the     development                      of the          high      technology                 industries             in the          PRC,        and     the     Enterprise             relied




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           on NATIONS                      USA          and     non-party                culpable            entities             and    individuals              associated               with        the      Enterprise


           located        in the           State        of New         York           to oversee             Enterprise                 activities          in the United                  States.


                          11.              After          becoming                    aware         of      the        DOJ's            criminal             investigation                  of         the      Enterprise


           initiated         by      Plaintiffs,              including               the    arrests         and        indictments                of non-party                    culpable            persons             in the


           Shih        Matter,          and        in    an     effort           to      avoid       potential               criminal            prosecution                  in     the    United              States          and


           impede          the         government's                    investigation,                    Defendants                     engaged             in     a pattern               of     obstruction                   and


           retaliation            by       knowingly                 promulgating                    false        and        defamatory                   information                 accusing               Plaintiffs          of



           wrongdoing                  in an effort             to deflect               and      distract         attention             from        law      enforcement                   and        intimidate               and


           influence            Plaintiffs              in violation                of      18 USC           § 1512               (relating        to tampering                    with         a witness,            victim,


           or    an      informant)                and         18 USC               § 1513           (relating              to      retaliating            against            a witness,                victim,            or    an


           informant).                 By       attempting                  to      impede           the      criminal               investigation                into        the      Enterprise                and       deter

           Plaintiffs'
                                  cooperation                  with         law       enforcement,                     Defendants                 sought          to     avoid         criminal              prosecution


           for    the      illicit          acquisition                of        protected            commodities                       and       technologies                     and      sought             to     tamper,


           influence,                and      retaliate              against             Plaintiffs              for        their        cooperation                   with          law        enforcement                     and


           accompanying                     interference               with           the Enterprise's                   unlawful               scheme.


                          12.              As      set forth           herein,              beginning              on       a date         unknown               but      no       later        than     in      or    around


           May        2018        and       continuing                through               the    present,            Defendants                 arranged             for     the       commencement                           of a


           corrupt        and        fraudulent               lawsuit             against         DAI        in the          High        Court        of the           Republic            of     Singapore.                    The


           corrupt         lawsuit           commenced                      by      Defendants                was           not     pursued          by      lawful           means,             and     constitutes                  a


           continued              attempt          of Defendants                      to extort            and     retaliate            against           Plaintiffs           for    cooperating                   with        law


           enforcement                 in violation              of,        inter        alia,     18 U.S.C.                § 1951            (relating          to extortion),                 18 U.S.C.              § 1512


           (relating         to tampering                     with     a witness,                 victim,         or an informant),                        and      18 U.S.C.               § 1513            (relating           to



           retaliating            against          a witness,               victim,          or an informant).




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                                                                                                                                          Defendants'
                          13.               Plaintiffs            continue                 to      be     a victim                of                                      racketeering                      and         extortionate


           activity        and         other          harmful                 conduct.                  Defendants                     and         other         members                  of        the     Enterprise                   must


           answer         for       their         actions,           and       Plaintiffs               bring         this       action             to address               the      individual                  and         collective


           conduct         of Defendants                        under          the       statutes            and     common                   law        discussed             herein.


                                                                                     JURISDICTION                                 AND              VENUE


                          14.               This          Court              has        jurisdiction                  over             Defendants                     pursuant             to        CPLR                   § 302(a)(2)


           because,            as    set      forth         in     greater               detail         below,           many            of        the      acts,       tortious               conduct,                transactions,


           practices,            and         other         courses                 of      conduct              giving            rise         to        the      causes             of    action                alleged            in    this


           Complaint                occurred              in     New           York             County.               Such             acts,        transactions,                    practices,              and            courses         of


           conduct          include,                but        are       not         limited            to,        the       illicit          acquisition                 of       protected                technologies                    in


           violation           of the         Economic                  Powers             Act      and         crimes            indictable                   under         Title        18, United                States           Code,


           Sections             1343         (relating             to        wire         fraud),             1344        (relating                 to     financial               institution               fraud            of     banks


           located        in     New           York          County),                   1956       (relating             to       the     laundering                    of     monetary                   instruments                    from


           bank        accounts             located            in New               York        County,             and        the      use         of the        New          York         County                bank         accounts


           as the       conduit             through              which             the     Enterprise                 scheme              and            extortionate                activity             was          to     advance),


           1030        (relating             to     the        intentional                 access             of     KHAN                FUNDS                   computers                     in    New           York            County


           without         authorization),                       1951         (relating            to extortion),                      and New              York         Penal            Law        § 155.05(2)(e).


                          15.           Jurisdiction                         over         each          of      the       defendants                       is     also         proper               pursuant                 to     CPLR


           § 302(a)(2)              because               the     facts            set     forth        herein           establish                  conspiracies                   among             Defendants.                         Each


           defendant             was         a member                   of     the       conspiracy,                 each          defendant                    had     an awareness                        of     the       effects        of


           their      activity         on Plaintiffs                    in New             York         County,              and        all    of the            defendant                conspirators                      committed


           an overt        act in the               State        of New              York         to further             the       conspiracy                    and/or         orchestrated                     the        conspiracy


           as set forth             in greater                 detail         below.              Defendants                   acted          in     concert            with         each           other         and        with        each




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           other's         active        support            and         approval            to accomplish                          their        common                objectives.


                           16.              This           Court          has         jurisdiction                      over          Defendants                      pursuant               to         CPLR              § 302(a)(3)


           because,              as      set        forth          in     greater                detail           below,              Defendants                      were            directly               involved             in      the


           coordination                 and       organization                  of acts            and        courses              of tortious               conduct                giving          rise       to the        causes            of


           action         alleged            in     this     Complaint,                    including,                   but        not        limited           to,     violations                 of        18 U.S.C.            § 1512


           (relating            to     tampering               with           a witness,                  victim,             or      an       informant),                   18 U.S.C.                  § 1513            (relating            to



           retaliating               against         a witness,                victim,            or      an informant),                            18 U.S.C.                § 1951          (relating              to     extortion),


           and      directing            the        commission                   of        a prima             facie          tort.            Such        acts        and          courses             of    tortious           conduct


           caused          injury           to Plaintiffs                in    the      State           of New               York             and     elsewhere,                Defendants                     knew         or should


           have        known            that        such         acts         and      courses               of    tortious                conduct           would              have          consequences                       in     New


           York,          and    Defendants                  deliberately                   directed              tortious               conduct            and        communications                            to Plaintiffs                 in


           the      State        of     New           York          knowing                 that          those          acts         and           communications                           would             be        received          by


           Plaintiffs           in the         State        ofNew              York         and would                   have          consequence                      in New              York.


                           17.              Jurisdiction                  over          each            of        the         Defendants                   is         also          proper          pursuant                to        CPLR

                                                                                                                                                           Defendants'
           § 302(a)(1)                 because,             as      set       forth         in     greater              detail           below,                                             activities              in     New          York


           constitute                transacting              business                in     the          State         of        New           York,           including,                  but     not         limited           to,     the


           maintenance                  of the         Enterprise               bank             account            in New               York         County            with          the     deliberate                 intention             of

                                                                                                                                                                                                   Plaintiffs'
           using          the    bank          account             to     facilitate              the        Enterprise's                     scheme            giving              rise     to                              causes            of


                                      Defendants'
           action,         and                                     deliberate               intention               to project                 themselves                    into     the      State          of New             York      by


           deliberately                directing             tortious           and         other            communications                            using          electronic               and           telephonic               means


           to Plaintiffs               in     the      State        of        New          York         to     facilitate                the        transactions                and         communications                            giving

                            Plaintiffs'                                       Defendants'
           rise      to                              claims.                                                  activities                 in     New         York             further           constitute                 transacting


           business             in the        State         of New             York         because               Defendants                     solicit         business              in the            State       of New             York




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           and     non-party            culpable             persons           and        entities        of the      Enterprise              have       offices         and     employees                  in the


           State     of New           York.


                         18.           Venue           is proper              in   this       Court        pursuant             to    CPLR          § 503       because              plaintiff           KHAN


           FUNDS             maintains              its principal             office         in New        York         County,            and     because          a substantial                 part      of the


           events       giving        rise      to the        claims         occurred             in New         York      County.


                                                                                                      PARTIES


                         19.           Plaintiff              KHAN              FUNDS                MANAGEMENT                               AMERICA,                   INC.          is     a     financial


           investment             business             incorporated                  on      or      around          October            15,      2014        with     its      principal            place           of


           business          located           in New           York         County.               KHAN              FUNDS            was     established            to     serve           as the         global


           headquarters               for     all     of     DAI's          affiliated            businesses,            including,              to wit,      Shenzhen                Qianhai             Qilong


           Fund       Management                     Co.,      Ltd.      a/k/a         Shenzhen               Qianhai           Khan          Fund         Management                   ("Khan             Funds


           China")        and      Beijing            Qilong          Pharmaceutical                     Holdings          Co.,        Ltd.      ("Beijing          Khan").             At    all    relevant


           times      herein,         KHAN             FUNDS                and      all     related        affiliated             entities       of     KHAN            FUNDS               were         wholly


           owned        by     DAI.


                        20.            Plaintiff             XUEFENG                   DAI         a/k/a      Eric      Dai        is the     founder,          Chief          Executive                 Officer,


           President,            and         sole          shareholder               of      KHAN             FUNDS                  and      was        approved              for      United             States


           permanent             residency             status        through           the        EB1-A       (Alien          of Extraordinary                  Ability)             classification                 on


           the basis         of his         qualifications             as a hedge                 fund     manager            in the PRC.


                        21.            Defendant                 NATIONS                     TECHNOLOGIES                              INC.         is     principally               engaged              in    the


           design,       manufacture,                  and      distribution                 of    semiconductors,                    also       known         as integrated                 circuits,         and


           related      key       components.                   NATIONS                    is headquartered                   in     Shenzhen,             Guangdong,                  in the       People's


           Republic          of China            ("PRC")              and     maintains              satellite        offices         in the United             States         and      Singapore.


                        22.            Defendant                NATIONS                   TECHNOLOGIES                             (USA)         INC.        is a semiconductor                     research




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           and       development                company               located         in     Fremont,                 California.               NATIONS                    USA       is a subsidiary             of


           NATIONS.


                          23.            Defendant             YINGTONG                      SUN           is a citizen              of the           PRC.        Since           approximately            2005


           and       continuing            through             the         present,          SUN           serves            as     General             Manager              and      Chief        Executive


           Officer          of NATIONS.                     More        recently,           from           2018        and        continuing                through         the     present,         SUN    also


           serves         as Chairman              of the           Board       of Directors                 of NATIONS.                          Beginning                on a date        unknown,          but


           no later         than     in or around               August          2018         and       continuing                  through            the    present,         SUN       serves        as Chief


           Executive            Officer         ofNATIONS                     USA.


                          24.            Defendant              ZHAOXUE                     LUO,            is    a citizen              of     the     PRC.           Between             approximately


           2014       through         2018,           LUO           served      as Chairman                      of the       Board            of     Directors            of NATIONS.Since                    no


           later     than       in   or around              April      2017,          LUO            has    served           as Vice-President                        of    the     China      Association


           for     Public       Companies.


                          25.            Defendant              BAOX1N                   HUANG,                  is     a citizen              of     the      PRC.           HUANG              previously


           served         as Director            of    the      Ministry            of      Supervision                 of    the        Office        of     State        Council,         at all    relevant


           times      a cabinet-level                  department              of the        PRC government.                              HUANG                also        served      as Deputy           Head


           of the      Disciplinary              Inspection                Team       for    the       Central           Commission                    for    Discipline             Inspection.           From


           approximately                 2015         and     continuing              through              the    present,           HUANG                   serves         as Deputy          Manager           of


           Ping      An     Insurance           (Group)              Co.     of China           Ltd.


                          26.            Defendant              JUNEE               YU,         is     a citizen              of     the        PRC.            From          approximately                2014


           through          no earlier          than     2018,         YU       served          as CFO            and Vice               General             Manager          of NATIONS.


                          27.            Does         1-20      are        named         as additional                   defendants,                  whose       identities           are     unknown           at


           this     time,       noting      that       Plaintiffs            have        reason         to believe                that        other     individuals               and/or       entities     may


           be willingly              and   knowingly                  working            with        one     or more               of the        Defendants                to support          or authorize




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          the     unlawful               the        acts,         tortious               conduct,             transactions,                       practices,             and          other         courses          of         conduct


                                                                                                                                                                      Plaintiffs'
          giving         rise      to    the         causes              of     action         alleged             in        this        Complaint.                                            investigation                    into     the


          identities             and       locations                     of      Does           1-20         is        continuing                     and        Plaintiffs             believe             that         substantial


          additional             evidentiary                    support           will        exist     to reveal                 the         identifies           and    locations              of Does             1-20.


                                                                                          FACTUALALLEGATIONS


          I.             THE            CONSPIRACY                                TO MISAPPROPRIATE                                                   PROTECTED                           TECHNOLOGIES


                         28.             The              allegations                  herein           alleged                 on        information                    and          belief         are      based              on      the


          investigation                 conducted                  by         Plaintiffs.             The         investigation                       into     the     allegations               herein            is continuing


          and      Plaintiffs            believe                that     substantial              additional                    evidentiary                  support           will      exist        for     the     allegations


          herein         after     further               investigation.                       Many           of the            relevant               facts       are known                  only     by      Defendants                  or


          are exclusively                  within                their        custody           and         control,             and          Plaintiffs           believe            that     substantial                additional


          evidentiary             support                will      exist         for     the allegations                       herein            after       an opportunity                    to conduct                discovery.


                         29.             According                       to estimates                 by      the        National                Counterintelligence                            and         Security            Center,


          theft     of     American                  technologies                       and      trade         secrets               by        China          costs      the      U.S.         upwards               of     $600BN


          each       year.         Theft             is widespread                        -     the     FBI            estimates                  active          "investigations                                               China's
                                                                                                                                                                                                     involving


          attempted              theft         of    US-based                    technology                  in        all     56        of     our      field        offices          and       spanning                just         about

                                          sector."
          every       industry


                         30.             Against                  this         backdrop                of      rapid              PRC            technological                    development                       through              the


          misappropriation                          of     protected                   technologies                     and         other          unlawful              activity,             beginning                  on      a date


          unknown,               but      no         later         than          in      or    about           June             2011,            and         continuing               through           the         date         of     this


          Complaint,              Defendants                      and          others,         united         by         long-standing                       personal,            professional,                    and     financial



          ties,     combined,                   merged,                  and          conspired               with            themselves                     and       others           to     form           a racketeering


          enterprise              with              the          common                  purpose                  of         illicitly            procuring                protected                  technologies                      and




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          commodities                  for     end       use     in        China        and      entered          into        a scheme                to     illicitly           acquire             American                and


          other        foreign         technologies,                   located           in     the    United               States,       by     any         means,                 including             through            the


          commission                 of the        crimes        and        acts      set forth        herein.


                         31.              Defendant              NATIONS                  is a "leader                 in     China's           information                     security             IC      [integrated

                                          industry"                                                                                                                                                 design"
          circuit]        design                                and        is recognized               as an "enterprise                        of    integrated                    circuit                        and        an

                         powerhouse."
          "R&D                                            NATIONS                     is the      current-day                  incarnation                  of    the          semiconductor                     research


          and        development                   division           of     ZTE         Corporation                   ("ZTE"),                a Chinese                   telecommunications                                and



          technology               company               with      a tortured             history           of    illegal         activity            including                 the       unlawful              export        of


          restricted           U.S     technologies                   to countries              including             Iran      and North                  Korea.


                         32.              NATIONS                and         others       were         well       positioned                to       develop              China's               high       technology


          industries           benefiting                from         the     misappropriation                        of     restricted              technologies,                     and          beginning            on      a


          date       unknown,                but    no     later       than        June        2011,        NATIONS                   assumed                a role            in     the       Enterprise             to,    in


          part,      finance          Enterprise              activities           and        implement            misappropriated                          technologies,                       in furtherance                of


          Enterprise              affairs.


                         33.              Defendant              NATIONS                 USA          is a wholly-owned                          California                subsidiary                  of NATIONS


          and        is nominally                  engaged            in    semiconductor                   research              and       development.                             At       all    times        relevant


          herein,        upon         information                and        belief,       the     Enterprise                has   leveraged                  NATIONS                      USA          to conceal             its


          illicit       activities            and        serve         as     the       Enterprise's               California                  base         for          the         management                   of     field


          operatives              in the United                States.


                         34.              Defendant              LUO          admits           to a multi-decade                      history          of engaging                     in illicit         commercial


          and        industrial           theft      across           a broad            range         of    industries               for      end         use      in         the     PRC           and        admits        to



          personally              profiting           from         his       efforts          thereon,           including             personally                  profiting                  from        his    work         in


          connection               with       the     Enterprise.                  At    all     relevant          times          herein,             LUO           led        the        Enterprise             and      was




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           responsible                for         developing                the      objectives                  of      the         Enterprise,               managing               Enterprise                    finances,


           recruitment,               and        the     coordination                of member                   roles       and          responsibilities.


                         35.                Defendant                  SUN        is a chief            lieutenant                   of     LUO         in     the     Enterprise.                 At        all     relevant


           times       herein,            SUN           has     conducted             affairs         of the           Enterprise               at the         direction         of LUO,                including              but


           not       limited          to     acting             in    place        and       stead          of        LUO         in       Enterprise             affairs,           serving            as         a conduit


           between             LUO               and      other         members               of      the        Enterprise,                  and       supervising                  the        operation                of    the


           Enterprise's               California                base.       Upon          information                  and        belief,           SUN        has personally                   profited            from       his


           work        in connection                    with         the Enterprise.


                         36.                At     all     relevant           times          herein,             defendant                 YU       was        a chief          lieutenant              of         LUO        and


           SUN,         and,         at     the         direction           of     LUO          and         SUN,            YU            conducted              the       affairs         of     the        Enterprise,


           including           but        not      limited            to executing              the    day-to-day                     administrative                  affairs        of the        Enterprise                 and


           managing              Enterprise                    communications,                        including                 communications                          with         Plaintiffs.                   YU         was


           personally            enriched                and         rewarded           by    the     Enterprise                  and        was     appointed               to lucrative               management


           positions           in various                Enterprise              projects.


                         37.               Defendants                   HUANG                and       LUO             share           a longstanding                      personal             and      professional


           relationship               spanning                 decades,            and       HUANG                    leveraged               his    cabinet-level                positions                in      the        PRC


           government                 and         his     decades-long                   relationship                 and       common               ties      with        LUO         to participate                    in    the


           affairs       of     the        Enterprise                 and     recruit         members                  to      the        Enterprise,            including             his        solicitation                and


           recruitment            of Plaintiffs                      as described            herein.


                         38.               Non-party                  culpable            person            Chen            has        decades            of     experience                in     semiconductor,


           photoelectric,                   and         microwave                transmission                    product              development                    and     management,                        and        since


           2007,       Chen          has         served          as General              Manager             of Chengdu                      RML          Technology                 Company                 ("Chengdu


           RML").              Together                  with         non-party              culpable             person              Shih,         Chen         also        served          on       the          Board        of




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           Directors             of      Chengdu              Ganide        Technology                      Co.,     Ltd.        ("Chengdu                 Ganide"),             a PRC            entity         engaged


           in      the         planning             and       construction                    of      a     semiconductor                        fabrication             plant            (also         known             as     a


           "foundry")                  in which            monolithic                 microwave               integrated               circuits           ("MMICs"),                   a type           of     integrated


           circuit         device,           would          be manufactured.                          As     admitted             by     LUO,            Chen         has conducted                     the     affairs        of


           the     Enterprise,                 including          but     not         limited         to the        illicit      acquisition                of blueprints                  and        raw      materials,


           used       in the           production              of semiconductors,                           from         U.S.        and     other         foreign           companies                 in the         United


           States         for     end        use     in     China,        and,         upon          information                and        belief,        the    payment              and         management                    of


           other         enterprise             members,             including               Shih.


                           39.               Non-party            culpable              person             Shih     is a dual              citizen         of Taiwan               and      the        United          States


           and       worked             as an electrical                engineer              with        expertise             in all      aspects          of MMIC                 technology.                 Since          at


           least         2010,          Shih        was       employed                and       compensated                     by     Chengdu              GaStone              Technology                    Co.,       Ltd.


           ("CGTC"),                   a PRC         entity      that      had         established              a MMIC                foundry            in Chengdu,                 PRC,         and         which       was


           designated              in 2014            by the U.S.               Department                  of Commerce                     as being            a risk       to U.S.         national             security


           or     foreign              policy        interests.             Together                 with         Chen,          Shih        served             on    the     Board              of     Directors              of


           Chengdu               Ganide             since       no      later         than      2010.             Shih        was       financed                     Chen        -     and        as admitted
                                                                                                                                                            by                                                                 by


           LUO,           the     Enterprise                financed            Chen,           and        upon         information                  and     belief,         the       Enterprise               financed


           Shih          via     Chen           -    and      thus        Shih          conducted                 the     affairs           of     the     Enterprise                at    the        direction            and


           oversight              of     defendants              SUN            and      NATIONS                   USA           and        non-party                Chen,       and        was         tasked          with,


           among           other         things,          acquiring             for     the        Enterprise            the     technical               knowledge               and       designs             necessary


           for     the mass             production              of MMIC                 semiconductors                        in the PRC.


                           40.               The     association-in-fact                           enterprise            described               herein         functions             much            like     a modern


           military             unit:        (i)    strategic           level          command                (including                   defendants                LUO             and     SUN),              who        are


           responsible                 for      preparing,           planning,                conducting,                and         executing             Enterprise              operations                 to achieve




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           the     strategic        objectives                 of    the       Enterprise;             (ii)    operational                level       units         (including              defendants                  YU,


           HUANG,              NATIONS,                  and        NATIONS                  USA),            who        must         be prepared                to plan,         conduct,             and        sustain


           Enterprise          operations;               and         (iii)     component              level         units        (including            non-party                culpable            persons             such


           as      Chen,       Shih,          and        others),              who       provide               field          level      operational                 expertise              and         support             to


           operational          level         units.


                         41.           LUO           and        SUN,          as strategic            level         command               and       masterminds                   of the       Enterprise,                 are


           responsible           for    its       overall           direction          and      coordination,                    with       final     say        on all         important             decisions             of


           the Enterprise.              In this          capacity,              LUO          and     SUN           are responsible                   for     Enterprise               finances          and would


           cause       money           to     be       collected               and      disseminated,                     by      way         of     bank         accounts              controlled                by       the


           Enterprise,           including               bank             accounts           maintained                  at     financial           institutions                located          in     New             York


           County,         to finance             the        activities            of the      Enterprise.                 LUO          and        SUN       would            cause       Enterprise                funds


           to    be     disseminated                    to      various             members              of        the        Enterprise,             including                 Chen          and           others,         as


           compensation                for     their         contributions                   to the      illicit         acquisition               of U.S.          technologies               for          end    use      in


           China.          Together           with           SUN,            LUO      is also        responsible                 for     creating,            approving,               and      implementing


           the     policies,        practices,                and       instrumentalities                     used        by      the     Enterprise                to    accomplish                  its     common


           goals       and     purposes.                 Together               with         HUANG,                  LUO          and       SUN            are      further           responsible                 for      the


           recruitment             of talent            to the         Enterprise.              Stated             differently,             at all     times          relevant           herein,            LUO          and


           SUN        were     and      have         been           the      hub     of the        Enterprise                 as strategic           level       command,                around              which         all


           other      defendants              and       non-party               culpable           persons              and      entities          revolve,          and        have      combined                  into       a


           single      cohesive             and      self-sustaining                   unit     with          the       common            purpose             and        goal     of    illicitly            acquiring


           and      transferring             U.S.        and        other          foreign         technologies                  in the        United            States         for     end     use          in   China.


           The      Enterprise              strategically                    aggregated             individuals                 and      entities            with        different            specialties                and


           expertise         to take         on tasks            no existing             individual                 or entity           was    properly              configured               to tackle            alone,




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           and     provided           overarching                     headquarters,                 management,                   funding,              communications,                        and     logistical


           capabilities             and     support.


                         42.              SUN         and       YU        are LUO's                chief       lieutenants,              and         are responsible                for    the       day-to-day


           operations            of the         Enterprise,               directing             other       members             of the         Enterprise             to take        actions           necessary


           to      accomplish                   Enterprise                     objectives,               and            implementing                    the         policies,             practices,              and


           instrumentalities                    of        the    Enterprise.                    LUO           would           direct          YU       and      SUN         to      orchestrate,                plan,


           implement,               and     execute             command                 level       decisions,             including            which          controlled            commodities                  and


           technologies              to acquire                 and    the          manner         and       means         of    acquiring              and     exporting            the       same       for     end


           use in China.


                         43.              HUANG's                  role        in     the     Enterprise,               as directed             by     LUO          and     SUN,           is primarily              to


           identify       and       assist       in the         recruitment                 and     solicitation              of talent         to the Enterprise,                   including,              to wit,


           the     solicitation            of     Plaintiffs,               and       to    otherwise               leverage            his     PRC          relationships                to    facilitate          the


           business           and    activities             of the Enterprise                     and       otherwise           coerce          Enterprise            membership.


                         44.              Chen            is one      of the         longest-standing,                    most         successful,             and     trusted         associates            of the


           Enterprise,              and     upon            information                 and       belief,        Shih         is financed              and      managed              by        Chen.         Chen,


           Shih,      and      others        are field             operatives               of the       Enterprise             and         active      participants             and       central       persons


           in the     operation             and       execution                of Enterprise                activities          at all relevant               times       herein.


           H.           RICO          PREDICATE                           ACTS


                         A.               The        Enterprise's                   Historical              Predicate            Acts


                        45.               Defendants                  and       other        culpable            members               of     the     Enterprise            committed                 deliberate


           and      repeated          acts           of     misappropriation                       and        illicit      procurement                  of     protected             commodities                  and


           technologies              from         locations               in    the     United           States         and      elsewhere,              and     each       received             income           and


           other      benefits        and        enriched             themselves                directly          and     indirectly            from         such     efforts.




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                         46.                 As       admitted                                      in or around                  2011        -        at the     direction             of   LUO           and        SUN        and
                                                                            by     LUO,


                              capital                                 and        access             provided                     the     Enterprise                -     the      Enterprise              facilitated             the
           utilizing                              funding                                                                  by


           acquisition                 of        a New           York-based                    high            technology               company.                   The          acquisition               facilitated             the


           transfer           of        critical          technology                     to     the         Enterprise                 and        also         established               a      domestic              base          for


           Enterprise                  operations               in     the         State            of     New         York.            Based             on      meetings                and        other           Enterprise


           activities             admitted              by      LUO           to        have         occurred              in    the     State           of     New           York,      this       New         York         entity


           serves        as strategic                   base         for     Enterprise                   activities            and     operations                including              a base           from        which            to


           manage            the Enterprise's                        technical            experts.


                         47.                 As       set forth             herein,           LUO           admitted             to financing                  Chen           in furtherance                of Enterprise


           objectives,              and          upon      information                   and         belief,       on or about                June            1, 2011,         the Enterprise,                  via     funding


           provided               by     NATIONS                      and        other         non-party                culpable              Enterprise                 members,                and       facilitated              by


           LUO         and         SUN,           caused             Chen          to    deposit               approximately                  $3.4MM                   into      a bank            account           held      by       a


           British       Virgin              Islands           company                  and     controlled                 by     the    Enterprise.                    Upon           information                and       belief,


           the    $3.4MM                 was          used       to        finance            the        Enterprise              and     compensate                     Shih       and       others         for       the    illicit


           acquisition                 and       unauthorized                    export             of    MMIC             chips        and        designs             to be fraudulently                       obtained            by


           Shih        and        others          from         an American                      MMIC              foundry.               Upon            information                  and     belief,           on     or    about


           August            2011            -     with         the        support             of        NATIONS                  USA             in     the     supervision                  of     Enterprise                field


           operatives               and          at     the      ultimate               authorization                      of    LUO          and         SUN            -     Chen          used         the     Enterprise


           funding           to     approve               monthly             payments                    of    $67,000            to    Shih            as compensation                      for      Shih's          ongoing


           role      in the Enterprise                        with     respect            to the planning                        and    execution                of illicit           acquisitions              of sensitive


           U.S.      export-controlled                          technologies                   and         related         materials,              such        as MMICs.


                         48.                 As       set forth            herein,            LUO           admitted             to financing                  Chen           in furtherance               of Enterprise


           objectives,             and           upon         information                 and        belief,         the        $3.4MM             ultimately                 distributed            by    Chen         to Shih




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          and        other         Enterprise                    members                   provided             them          substantial                  Enterprise                   financing                  and            a     clear


          incentive            to carry               out       field         operations             in furtherance                 of Enterprise                      objectives.                   Upon            information


          and       belief,         Chen              and        Shih           further         used         this      Enterprise                    financing              to     continue                  their           efforts          in


          connection               with         Chengdu                      Ganide's          plans         to utilize            and         further         develop                 the     technologies                       illicitly


          acquired            by        the     Enterprise,                    as well         as CGTC's                   plans         to utilize              the       illicitly           obtained                 technology


          for    specialization                         in,     among                other      things,          the       design,              testing,          and            manufacturing                          of        gallium


          nitride       and        gallium               arsenide              MMIC            wafers         and      chips        for         end      use in China.


                        49.               Shih              -    upon               information              and                           financed                         the         Enterprise                   via
                                                                                                                       belief,                                    by                                                              funding


          provided            by        NATIONS                    and         other         Enterprise              members               and        under        the        management                          of NATIONS


          USA         and          Chen           -       conunitted                      a number              of     crimes              in        furtherance                  of         Enterprise                 objectives,


          including,               to    wit:           (i) in          or     around          April         2012,           under          Chen's             guidance,                     Shih          planned                for     the


          development                    of a MMIC                      semiconductor                   foundry              in the         PRC,           and         in furtherance                        of this          foundry,


          on    or     about             September                      24,     2012,          Shih       caused             the        unlawful               export              of        semiconductor-related


          equipment                from           the           United              States      to     Chengdu,                PRC              in     violation                 of,     inter          alia,           the        Export


          Administration                        Regulations,                         15 C.F.R.          §§ 730-744;                     (ii)     from          February                      2013,           Shih            caused             a


          subordinate                   field           operative                    to    provide            false          information                    to         a     leading                American                      MMIC


          semiconductor                       foundry              ("U.S.             MMIC           Foundry")               for     the        purpose            of       illicitly           inducing                the        sale       of


          MMICs               produced                  by       U.S.          MMIC             Foundry               to     entities                controlled              by         Shih          in      furtherance                     of


          Enterprise               objectives                    and           in     violation           of,        inter         alia,             18 U.S.C.               § 1341;                 (iii)         on        or       about


          September                3,     2013                through               December              1, 2014,             Shih             caused           the        submission                       to    U.S.           MMIC


                              of        multiple                purchase                  orders       for       MMIC              wafers                                                                    and        -
          Foundry                                                                                                                                       totaling              $247,000,                                       utilizing


          Enterprise                                  and        at the         ultimate             authorization                 of      LUO           and       SUN             -    caused               payments                   to be
                                money


          made         for      said          illicit           purchases                 of   MMIC              chips         fabricated                 by       U.S.           MMIC                 Foundry                 totaling




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           $247,000,               along         with          payments               to     Shih's          subordinate                totaling             $38,028,            in         furtherance               of


           Enterprise             objectives;               and     (iv)      on     or about            January          2, 2014          through            April        6, 2015,               Shih       caused


           packages              containing              the      MMIC             chips        obtained              from       U.S.        MMIC                Foundry             to     be      unlawfully


           shipped            from      the      United           States       and       ultimately           delivered             to the         PRC in furtherance                           of Enterprise


           objectives.


                          B.             The       Enterprise                  Scheme          to Solicit,             Coerce,          and        Defraud              Plaintiffs


                          50.            To      support          the       Enterprise,            Defendants              recruited,              solicited,         groomed,                  financed,          and


           managed              various          business,              fmance,            science,         and        technology              professionals                 like         DAI        and      Chen


           and        others      to illicitly          access          and       acquire       protected              American            technologies.                   Defendants                    sought       to


           solicit,       direct,       and      incentivize                DAI      and      others       to commit                crimes         against        companies                 headquartered


           or with        offices         in the United                 States        in furtherance                  of Enterprise            objectives.


                          51.            To wit,          upon        information               and       belief,       around         the     time         the    Enterprise               was          arranging


           for    Shih         to illicitly        acquire           and       export         MMIC           chips,          LUO        and        SUN        recognized                  the     Enterprise's


           need        to use financial                 and       investment               professionals               as field       operatives              to arrange              for       sophisticated


           transactions                and         directed                 HUANG                  to      recruit            and       solicit             suitable            candidates                   whose


           responsibilities                would            be the          management,                  laundering,            and      growth             of    Enterprise                finances.             One


           such        candidate          was      plaintiff            DAI,       by then          already           a successful             hedge          fund       manager                in China.            As

                                                                                                           "chose"
           recounted             by    LUO,        the        Enterprise             ultimately                               to solicit           and      recruit       DAI         to the         Enterprise


           for    three          reasons:          first,         LUO's            long-standing,                   trusted         associate            HUANG                had           arranged              their


           relationship;              second,           DAI         shared          an      ancestral            birthplace           with         LUO;           and      third,         as admitted                by


           LUO,         "in     the private             fund       field,      [DAI         had]        strong        professionalism,                   [was]        well-educated,                      low-key,

                                                                                                                                                                                                 this"
           hardworking,                 pragmatic,                and       professional.                 [LUO]          need[ed]             to     find        someone             like                   for     the


           Enterprise.




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                           52.            In    furtherance                 of    the      scheme            to recruit          and         solicit        Plaintiffs,             HUANG                   arranged          a


           social       engagement                    at the        direction              of     LUO          and       SUN,           in     or      around            May         2014,        to        create      the



           opportunity              for        LUO          and     SUN           to solicit           DAI       to the        Enterprise.                   Unaware                of    the    criminality              of


           the      Enterprise             or    the        Individual              Defendants                association               with           same,           at the        behest           of     HUANG,


           DAI       accepted             LUO's             claimed             interest         in    subscribing              to     a fund           managed                by    Khan         Funds          China,


           DAI's       wholly-owned,                        registered            private         fund       management                      company.


                           53.            On      or       around           October             15,      2014,         DAI        incorporated                     plaintiff          KHAN                 FUNDS          in


           New        York         County             to    serve          as the        global          headquarters                  for     DAI's              businesses              and         the     umbrella


           parent       company                to all       of DAI's             wholly-owned                    affiliated           entities          located           in China,             Singapore,             and


           elsewhere,            including                 Khan         Funds       China.


                         54.              In     or        about          August              2015,        plaintiff           KHAN                  FUNDS                 formed            a    mergers              and


           acquisitions               team         to       execute              DAI's          investment               strategy             of       acquiring               U.S.-based                   biopharma


           companies             and       merging                the     same         with       similarly            situated         China-based                      companies               in     an effort         to


           grow       enterprise               value        and         total     shareholder                returns.           In     furtherance                     of this       investment               strategy,


           DAI       concurrently                established                Beijing           Khan        as a wholly-owned                            subsidiary              of Khan           Funds         China.

                                                                                                                                                                                    NATIONS'
                         55.              Despite            the        biopharma               sector        being          completely                    outside          of                                ordinary


           scope       of business,                LUO            recognized               this       as a strategic                 opportunity                  to    ensnare           Plaintiffs           into     the


           Enterprise,           thereby           allowing               the     Enterprise             to use the            financial               strength           and       reputation              of KHAN


           FUNDS             and      DAI        to facilitate                  Enterprise             activities         and        launder            illicit        racketeering              proceeds.               To


           that     end,       from        about           October              2015       and        continuing             through            no       earlier          than       November                 2017,       in


           New        York          County                 and      elsewhere,                  Defendants,                  together               with          others,           did      knowingly                 and


           intentionally              conspire              to devise             a scheme             and     artifice         to defraud                  Plaintiffs,             and     to obtain           money


           and      property          from        Plaintiffs,              by     means           of one         or more             materially              false        and       fraudulent              pretenses,




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           representations,                    and      promises,               and      for      the        purpose            of     executing              such        scheme              and       artifice,        to


           transmit           and      cause         to be transmitted                      by     means          of wire             communication                       in    interstate             and     foreign


           commerce,                 writings,              signs,           signals,            pictures,             and           sounds,          contrary                 to      18 U.S.C.               § 1343.


           Specifically,              beginning              from         approximately                      October            2015         through          no     earlier           than      November                of


           2015,        the     Enterprise               directed            YU        to      cause          NATIONS                  to    commit            to    an         investment              in     KHAN

           FUNDS'                                                                                                                                    NATIONS'
                                biopharma                 project,              something                that         far     exceeded                                              ordinary             course          of


           business;           in    turn,       NATIONS                    and     YU         caused           the     transmission                 of    fraudulent                communications                      to


           Plaintiffs           in     New           York       County               and       elsewhere                concerning                the      negotiation                   of      the     purported


           investment.               As      a result        of these           negotiations,                  on or around                 November                23,        2015,       Beijing           Khan,       as


           General         Partner             and      Executive             Partner,            and        non-party           culpable            entity         Shenzhen               Qianhai            Nations


           Investment                Management                    Co.,      Ltd.       (hereinafter              referred             to    as "Nations                  Investment"),                  a wholly-


           owned         subsidiary                of    NATIONS,                   as Limited                 Partner,          entered          into        the    Shenzhen                  Guotai          Qixing


           Industry           Investment                 Fund           Management                   Centre             [Limited             Partnership]                  Partnership                 Agreement


           (hereinafter              referred           to as the           "Partnership                Agreement"),                   establishing             non-party                  Shenzhen            Guotai


           Qixing        Industry              Investment               Fund        Management                   Centre          [Limited            Partnership]                   (hereinafter              referred

                                                Guotai"
           to   as "Shenzhen                                       or     the       "Partnership").                     The          Enterprise           caused               Nations           Investment              to


           invest        capital          in     the      amount             of      RMB          300MM,                on       or     around            November                   30,      2015,          into       the


           Partnership,              with       an additional                 investment                of    RMB 200MM                       to the       Partnership,                  on or around                July


           4,   2016.           By        these         investments,                NATIONS                    committed                approximately                     one          quarter         of     its    cash

                                                                                                                                                                                    NATIONS'
           reserves           at that       time        to Enterprise                goals        and        objectives              that     were        outside          of                                ordinary


           scope        of business.


                         56.              Pursuant            to      the       terms        of     the        Partnership                  Agreement,               KHAN                FUNDS,                by    and


           through         affiliate           entity       Beijing          Khan,          as General                Partner         and     Executive              Partner,            had     the        exclusive




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           right        and            authority               to     make               independent                   investment                and        management                       decisions                for     the


           Partnership,                      while        NATIONS,                       via      Nations              Investment                  as      Limited             Partner,                was        expressly

                                                                                                                                                                                                        FUNDS'
           forbidden                from             participating                 in      or      interfering               with        such            decisions.                 KHAN                                     sole


           authority              to make              these         decisions             had      been           negotiated            ad nauseam                  and       was          of     such         importance


           that      this        limiting            clause         was       set forth            in the            Partnership            Agreement                   in no        less        than       ten     different


           sections              or subsections,                     to wit:         sections             2.6.5        and      2.6.6,       which           bestowed                upon          KHAN               FUNDS

                                                                                                                                                   of"
           the      right         to     "independently                       manage              the        daily      operations                          and     "make             investment                  decisions


                                              for"
           independently                                the     Partnership,                   respectively,              while         also       stating         that      the     Limited               Partner          "may

                                                       interfere;"
           not     participate                 nor                                sections         4.2.3         and     4.2.5,        which             noted     that       the     Limited              Partneir         shall

                                                                                                                                                   management"
           not      "participate                 in or interfere                   in the         normal             operation           and                                        or "be          involved            in the

           management,"
                                               respectively,                 of     the        Partnership;              section            5.1,         which      granted             KHAN                FUNDS             the

                                                                                                                                                         Partnership;"
           power            to     "execute              the        Partnership                 affairs         on      behalf         of    the                                       section             5.3.2,       which


           stated       that           "[a]dministering                      maintaining,                    and      disposing             of     Partnership                assets,            including            but     not

                                                                                                                                                                                                   etc."
           limited          to investment                      assets,        non-investment                         assets,        intellectual            property               rights,                      was    one      of

                                                                                                                                             Partner;"
           the      "[a]uthorit[ies]                    and         responsibilities                    of    the      Executive                                   and       the      entirety             of     section       6,


           comprising                   sections          6.1,        6.2,        6.3,     and      6.4,        which          authorized                KHAN           FUNDS                to make              decisions

                                                                                                                                                                                                                authority;"
           for       the         Partnership,                   specifically                    "exercis[ing]                  the       investment                 decision-making


           "determin[ing]                      if the      investment                    conditions             of the projects                    are in line            with        the        overall         interest       of

                                                                                                                                       invest;"
           the     Partnership,                  and      ultimately                 decid[ing]               whether            to                        "with          regards            to the         transfer          and


           disposition                  of     the      Partnership's                     investment                 assets,         real      estates           held        for      various              reasons,           and

                                       property;"                                                                                                                                                      Partnership."
           intellectual                                        and      "with            regards         to other         investment                related         matters            of the


                            57.               NATIONS,                 via        its affiliated              entity      Nations            Investment,                  however,               had       no present           or


           future          intention             of     abiding              by     terms          of     the       Partnership             Agreement                   or    the      underlying                   intended




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           purpose           of         the     Partnership,                   that         is,        investment                  into      the      U.S.            biopharma               sector.              Rather,             the


           Enterprise              sought            to    leverage              the        investment                   for       the      fraudulent                 purpose          of       co-opting               Plaintiffs


           into      the    Enterprise;                   the     Enterprise's                     intermingling                     into       DAI's            businesses              encumbered                      Plaintiffs


           with       the        legal         obligation                and      responsibility                       to        unwittingly                 manage                racketeering                funds           of      the


           Enterprise,              and         Defendants                  sought                to    exploit             this        obligation               as a means                 to     solicit          and       coerce

           Plaintiffs'
                                   involvement                      in     the        Enterprise.                      As          described                herein,                 LUO,           SUN,             and        others


           employed               threats           of violence                 against             DAI's            person,              family,          and        associates,            and       issued            threats        of


           governmental                       and      regulatory               scrutiny                against          KHAN                 FUNDS                   in    furtherance             of       the     scheme             to

                                                    Plaintiffs'
           solicit       and       coerce                                  involvement                      in the Enterprise.


                           58.                Between           January               through             September                     of 2016,            in furtherance                  of the business                    of the


           Partnership,                 KHAN              FUNDS                 expended                  in    excess             of      $1MM             in    consulting,                legal,       and        other          fees


           with      respect            to China           Merchants                   Bank             New         York         Branch,             Deloitte,              and     Baker         McKinsey,                  as well


           as countless                 hours          and      resources               expended                    on      extensive               research,                due     diligence,              meetings,              and


           assessments                  on numerous                      acquisition                   candidates,                 eventually               culminating                in     overseas              roadshows


           in the        PRC       showcasing                   the target             acquisitions.


                           59.                During         this        time,        in      or about               March              2016,         LUO             telephoned              DAI        in        the      State       of


           New       York          and         summoned                   DAI         to China                 to accompany                         him      on        a trip       to New             York         for,      among

                                                                                                                     favor"
           other         things,          assistance                with         a      "personal                                       unrelated                to        Luo's      position            at       NATIONS.


           Specifically,                LUO          sought          DAI's             assistance                   in establishing                   an account                   at a banking               and          financial


           institution             in     the       United          States            for         a British            Virgin             Islands           private            company              controlled                by       the


           Enterprise.              Unbeknownst                          to DAI,            LUO           sought            to establish                  this    bank          account          for     the purposes                   of


           laundering              illegal           racketeering                  proceeds                    of     the        Enterprise                and         financing             Enterprise                  activities.


           After      arriving            in New             York         County              together               with        LUO          on or around                    May       7, 2016,             DAI           arranged




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          for       LUO        to meet          with           China           Merchants               Bank           New       York           Branch,              for        the     purpose            of establishing


          an account                with       a banking                 institution                in the          United         States,           specifically                    within         the        State       of New


          York,        County             of New               York,         that        would       be used            to launder                  the   Enterprise's                     funds         and        finance         the


          illicit      acquisition                  and        transfer             of    protected             U.S.         technologies                    for     end             use     in    China,            as well           as


          activities              conducted               in     furtherance                 thereof.               Between            approximately                           May         7, 2016             through            May


           14,      2016,           within           New              York          County             and          elsewhere,                 Defendants,                     together                with      others,            did



          knowingly                  and        intentionally                       conspire             to     execute            a      scheme                  and          artifice           to      defraud               China


          Merchants                 Bank        New             York         Branch,             a multi-national                      banking               and          financial               services           institution


          that      operated              in New          York          County             and      elsewhere,               and       to obtain             moneys,                  funds,         credits,          and        other


          property            owned            by     and         under         the        custody             and     control           of     said         financial                institution,             by      means           of


          one       or more           materially                 false         and       fraudulent             pretenses,             representations,                          and        promises,               contrary           to


          18 U.S.C.                § 1344,          with          the     intent           to promote                 the     carrying               on      of     specified                unlawful               activity,          to


          wit:      a conspiracy                to violate               the        Economic              Powers            Act.


                            60.            During              this     trip        to New          York,           LUO        also        visited            the        Enterprise's                   New         York          base,

                                                                                                                                                                                                               ago"
          and       later      admitted             that        the      Enterprise              had          "already         acquired               this         team         4 or 5 years                               by      way

                                                                                                                                           Beijing."
          of     a "comrade-in-arms                              partner            who        [LUO]            arranged            in                               Upon              information                  and      belief,


          LUO          met         with       the    Enterprise's                    field       level         operatives              and          others         for         the     purpose            of transferring


          illicitly-acquired,                   critical              American               process           knowledge                 for     the benefit                   of the        Enterprise.


                            61.            In furtherance                      of the        Enterprise's                scheme            to solicit,              coerce,                and     defraud            Plaintiffs,


          during            this     visit,         LUO               suggested              that        KHAN               FUNDS                   change           the         investment                    focus         of     the


          Partnership                from       biopharma                      and       use     the      funds         invested               by     the     Enterprise                    to instead              acquire          an


          American                 semiconductor                      company                to advance               the     development                     of the high                   technology                industries


          in     the    PRC.               Given           this         suggestion               was           in    direct        contravention                          of     the        terms         of     Partnership




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           Agreement,                 the          fact          that       there        was           no         expertise               within         the      KHAN            FUNDS                 mergers             and


           acquisitions               team                in        connection                  with             a      high        technology                 acquisition,               and        the        fact      that


           RMB          500MM            could                not     fund       a transaction                    of this          type,     Plaintiffs           disregarded             this      suggestion              and


           continued            to      proceed                     with        the      biopharma                       transaction               as     planned.               To      that       end,        Plaintiffs


           continued            the     efforts                of    identifying                suitable               biopharma                 candidates          for    acquisition              and        expended


           considerable               resources                     in     pursuit        thereof.                   After         conducting             extensive             due      diligence,             countless


           meetings            and      assessments,                        and       travel         with            acquisition             targets         on    various         road         shows,          Plaintiffs



           finally       identified                 an        attractive             biopharma                   candidate                that     had     the      potential          to      return         significant


           profits      to the          Partnership.                        Despite          this,      the            Enterprise's               demand           to switch           the      investment              focus


           of    the    Partnership                      to      a high          technology                      enterprise              only       increased          in       frequency,              urgency,           and


           intensity.          LUO            and          SUN           directed         YU         to manage                    the      communications                   between             Plaintiffs          and      the


           Enterprise,            and,             to     that       end,        YU      directed                 repeated               communications                    to    Plaintiffs             in    New       York


           County        pressuring                      Plaintiffs           to agree            to Enterprise                      demands             and      threatened             harsh          consequences


           for   the refusal            thereof.


                         62.             On or about                        September                12, 2016,                 LUO         again        traveled       to New            York.          No      later     than


           September              20,       2016,              LUO          met       with        DAI             in     New         York         County,          at which            point        DAI         presented

                          FUNDS'
           KHAN                                     biopharma                    investment                 findings                and      recommendations                      to     LUO.                 LUO       again


           repeated         the       demand                   that        Partnership                 funds            be        used      to     acquire         an American                   high         technology


           company             and      not        the        intended           biopharma                  investment.


                         63.             Following                       LUO's         visit,      LUO               and       SUN         caused        YU        to initiate         a pressure              campaign


           against       Plaintiffs.                    To that          end,     on or around                       September               26,    2016,         Yu transmitted                 extortionate             and


           fraudulent           communications                               to Plaintiffs                  in       New          York      threatening              the    immediate                dissolution              of


           the   Partnership                  if        Plaintiffs           failed        to     submit                to     Enterprise            demands.               To    that       end,        in    or   around




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                                             NATIONS'
           May       2017,             at                                 headquarters                    in Shenzhen,                     PRC,           LUO        summoned                   and        captured             two      of


                             FUNDS'
           KHAN                                        most         senior         employees.                  LUO,             knowing                   that     his     message              would            be relayed              to


           Plaintiffs             in    New             York,         angrily             confronted               these             KHAN                 FUNDS             employees                    and          made       direct


           threats        demonstrating                        the reach              and power               of the Enterprise                             to inflict        harmful             consequences                       upon


           Plaintiffs            for        refusing           Enterprise                demands.


                           64.                   On     or around                September                 10, 2017,               LUO              traveled         to New             York        for         the     purpose          of

                                                                               Plaintiffs'                                                                                                                               Plaintiffs'
           finalizing                and           delivering                                            membership                       to        the     Enterprise                and         securing


           agreement                 to facilitate                  the        proposed            acquisition                by     the        Partnership.                  Further,            LUO            admitted             that


           his     visit's           purpose                 was      to        attend        various          meetings                    the        Enterprise                arranged            to         be      held     at     the


           Enterprise's                 New            York         base         to bring           together            certain                of the        Enterprise's               field       operatives                 located


           in New            York           and        overseas.                Beginning                on or around                     September                 10, 2017             through                September              17,


           2017,          DAI          met            with      LUO             on     multiple             occasions                 at multiple                   locations             in      New            York         County,


           including              the        offices           of    KHAN                FUNDS.               On         or around                    September                 10,     12,       and          14, 2017,             LUO


           admitted             in     multiple               conversations                       with      DAI         that       the          primary            reason         for       his     visit         to New             York


           was       to      bring               together           members                  of     the     Enterprise's                       collected             team         of     international                    technical


           experts           to        meet            with         their         American                 counterparts                        at     the        Enterprise             base          in        New           York       in


           furtherance                      of        the      Enterprise's                       scheme           to         illicitly               acquire             and         transfer             protected                 U.S.


           technologies                     for       end     use         in    China.            As      admitted              by        LUO,            "[the      Enterprise's                  New           York         team       of


           experts]           now            has       two      or three             of the         world's             top      technology                      experts        capable            of      competing                 with


           [the    most           advanced                   American                companies              in the        industry].                      The      reason        I came            here         this     time        is to


           communicate                       with            them         about        technology.                  This             technology                    can     completely                   fill      the     domestic

           gap."
                          LUO          had          "brought              the      core       expert        technical                team            [from        China],         and         some             experts        will     fly

                        Europe."
           from                                        LUO           further           revealed             that         the         purpose                 of     the     Enterprise                   meeting               was       to




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           coordinate                  the    activities            of Enterprise                  members               and         cause         them           to commit                 crimes         in furtherance


           of Enterprise                     objectives,              including            the     illicit          acquisition                 of restricted               technologies                   in violation                 of


           the      Economic                   Powers            Act      and          crimes          indictable              under             Title          18,     United             States        Code,           Sections


            1343         (relating             to     wire        fraud),             1344        (relating             to     financial                 institution             fraud),            1831          (relating             to


           economic                    espionage),                 1832             (relating           to     theft          of     trade            secrets),             and        1956             (relating             to     the



           laundering                  of monetary                instruments).                    To wit,           LUO            admitted,              "[t]his          time,      my team               came            here       to


           coordinate                  with     them         and       clearly           communicate                    about            all the       core           details,      and          some      things            have       to

                                                                      PRC],"
           be brought                   back        [to    the                           and     that        "[at      this        meeting],              I will          take      action          to do         the        second


           most          important              thing        [the       Enterprise]                planned.              After            I finish             this      matter,           the    thing         I bring            back

                                                                                                   problems."
           will      help          our        country            resolve              many                                          In     other           words,            the      Enterprise                was          on      the


           precipice              of     obtaining            illicitly              acquired           technologies                     that     would               significantly               advance              the     goals


           of      the     Enterprise                and      PRC             technological                   capabilities,                  and         on      or      around             September                  13,     2017,


           LUO           and      other         members                of the          Enterprise             met       at the           Enterprise's                   New        York          base      in furtherance


           of these          objectives.


                           65.                In the       course           of these            same          conversations                     with          DAI        in New             York,        LUO           admitted,


           to wit:         (i)    LUO's             role     as a mastermind                           of the        Enterprise                 and       his     leadership                position            with         respect


           to Enterprise                  members:               "I     asked          them        [other           members               of the          Enterprise]               to work              here      for       several

                                                                                                                                                                                                                               this;"
           days      and         communicate                     with         them.         They         really         respect            me now                ...     I directly              lead     them         for


           (ii)    the      achievements                      of        the         Enterprise,               claiming                that        "the           top       [technology]                    that        we          have

                                                                                                                                                                                                                               out;"
           purchased,                  the     [technology]                   has        already         been          brought             back           to     China,          it has          been       figured


           (iii)    that         the     semiconductor                        facility          that     NATIONS                     sought              to     establish             in     Chengdu,               PRC            was

                                                                                                                                                                                                                Agreement"
           built     upon          the        Enterprise's                illicit        technology                 acquisitions;                  (iv)        that      the     "Framework


           between                NATIONS                     and           CHEN,                concerning                    the         production                      and         commercialization                              of




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           semiconductor                    IC         wafers,         was         actually          made            possible               by         illicit       Enterprise                 activity            and     the     very


           technologies                   Chen           had          been         dispatched                  to     acquire                   for         the      Enterprise;                  (v)       the       Enterprise's


           financing             of Chen's               activities             and      Chen's           essential              role           as a field                 operative            for     the        Enterprise,              as

                                                                                                                                                                                                 told,"
           "there          are      many          things            [Chen         had       done         for        the     Enterprise]                      that          cannot         be                       and    that      "[i]n


           these       ten        years           or     so,        including            from           Canada              and            from             the     U.S.          ...     the        things           [Chen]         was


           responsible               for,         how         the      researchers                 came         back           to      the        country,                  and         how      the        technology               was

                                                                                                                                                                 easy."
           brought           back,        how          can      I talk       about          these       things?               It's     not        that                         LUO             continued,                "Chen       had


                                                                                                             years,"                                                                                          Chen"
           been       working               for        [the     Enterprise]                 for     15                          and         the         Enterprise                  "relied           on                     because


           Chen            was       instrumental                     in      advancing                 PRC               technologies,                           starting              from          "no          drawings,            no

                                            talent"                                                                                                                                                                         talents."
           technology,               no                        to having              obtained            for       the       Enterprise                     "a     full     set of           drawings              and


          As      admitted            by       LUO,            Chen          and      others        acted            in furtherance                          of Enterprise                     objectives             in the        theft


           of    restricted            commodities                         and      technologies                     and         the         misappropriation                              of        critical         intellectual


           capital;          (vi)    that          LUO's              work         for       the        Enterprise                   was          wholly               unrelated                to      his        public-facing


          position           at NATIONS                        and     that       he neither             worked                for      any           one         single       person            or entity            nor      was      he


           accountable               to        any      one         single        person           or    entity;           rather,              LUO               worked            to    advance               the      Enterprise


          goal        of    the      development                      of     PRC         technology;                  (vii)          the        extensive                  global         reach         of      the      Enterprise


           and     its operation;                  as admitted                by LUO,              "[t]he           people            on my team,                      throughout                 the world,                there      are


           1,500           people         in      the         U.S      who         can       operate            this          (technology),                         several              hundred              in     Canada          and


          several           hundred               in    Germany,                 and        for     these           people,            I have                already...                  These          people            (technical

                                                                returned."
          experts)            have          already                                          LUO             continued,                    of         the         1,700        U.S.-based                     engineers             with


          expertise              in producing                  gallium            nitride         and        gallium            carbide,                 there         were         "107         Chinese-Americans,

                                                                       control;"
          all    of whom             are under                 my                           and      (vii)      the        expansive                    interest            of the        Enterprise                 in acquiring


          varied           forms      of technology,                       from       the Enterprise's                        efforts            in the           fields       of artificial                intelligence             and




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           its applications                      to predictive                    decision        making              to various                 supercomputer                        technologies.


                             66.              At        the     same           time         LUO        was       admitting              to the               workings               of      the       Enterprise,              in New


           York        County,              Defendants                      knowingly             and        with       the        intent         to solicit,               coerce,             and     defraud           Plaintiffs,

                                                                                                                                                                             Plaintiffs'
           devised,                participated                      in,       and          executed             a      scheme                   to        solicit                                      membership                    and


           participation                    in     the        Enterprise,                defraud            Plaintiffs              as to         material                 matters,             and         to    use     threats         of


           force       to compel                   Plaintiffs                to    commit          multiple              crimes             in    furtherance                     of the         Enterprise,              including


           the     illicit         acquisition                  of         restricted          technologies                   in     violation                 of     the         Economic                  Powers          Act       and


           crimes            indictable             under            Title         18, United            States         Code,          Sections                 1343         (relating            to wire            fraud),        1344


           (relating           to financial                    institution              fraud),         1831          (relating             to economic                      espionage),                    1832        (relating         to


           theft     of trade               secrets),            and         1956        (relating           to the       laundering                   of monetary                        instruments).                  To wit,        on


           or around               September                    10,        12, and          14, 2017,            LUO          admitted                 to his             intention             of soliciting              Plaintiffs


           to the       Enterprise                  for        the     purposes              of giving           the      Enterprise                   access              to capital            that        could       be readily


           sourced            and       thus            allow         the         Enterprise           to     finance           operations                   through              legitimate                 channels.              LUO

                                                                                                                          for"
           explained                 that         he      had          "kept            a    special          path                     Plaintiffs                    to      orchestrate                and          manage             the


           Enterprise's                 finances,                and          "hope[d]            that        everyone                can         work              together               in    the        funding            strategy

           aspect."                                                                                                                               Plaintiffs'
                               LUO               activated             his pressure               campaign               to solicit                                         membership                      to the       Enterprise


           with        promises                    of     profit,             access,          and          influence:                "[b]y            helping                [the          Enterprise]                 with        your


           intelligence,                you             can     both          receive          such         profits       and         at the           same               time,      help         me        personally,             also,


           through            such          circumstances                         you're       able         to make           friends             with          these         people             [Enterprise              members

                                                                                                                                                                                   ..."
           and     other           influential                  people].                This      is a special                channel                 to     develop                             Luo         continued,             "this

                                                                                        influence"
           cooperation                 will        bring          you         key                              and       this        "collaborative                         relationship                with         Khan        Funds

                               Enterprise]"                                             "extraordinary."
           [and      the                                        would             be                                          In     sum,             Luo       admitted              that        the       Enterprise            never


           intended             to     invest             in     a biopharma                    acquisition                via        the         Partnership;                     rather,            the        Enterprise          had




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                                                                                                                                                                                                                     Plaintiffs'
           always          sought               to     leverage             its     investment                 in     the        Partnership                 to     solicit             and        coerce



           membership                     in     the         Enterprise               and        exploit            Plaintiffs               in     the      scheme              to       covertly               acquire               an


           American                 semiconductor                      company               and     transfer              protected               American              technologies                     for        end     use       in


           China.


                          67.               At       the     same          time      LUO           sought           to solicit           and        coerce          Plaintiffs            to the           Enterprise,                 in


           New        York            County,                Defendants                 devised,              participated                   in,     and          executed                a        scheme             to      extort


           RMB        300,000,000                      from           Plaintiffs          in      violation            of        18 U.S.C.                § 1951          and         New           York          Penal         Law


           § 155.05(2)(e)                      by     use       of      threats         of       force,        violence,               and         fear      in     an     effort             to    use         Plaintiffs             to


           launder         the        racketeering                    proceeds              of    the        Enterprise                and        finance          members                of        the     Enterprise                 in


           furtherance                of Enterprise                   objectives.                To wit,        on or around                       September               10,     12, and                14, 2017,            LUO


           repeatedly                attempted               to extort            RMB            300,000,000                 from         Plaintiffs              and      demanded                      that     the      money


           be      used        to    finance             Enterprise                activities,            ordering               DAI         in    one      instance,              for        example,                to     "[j]ust


           follow         the        arrangements                     on    your        end.         I will           give        half        of    the      300        million             [RMB]               to    someone

           else."
                          LUO             continued,             "I     need         to use        the       money           to complete                   my mission                    [of       the     technological

                                                           PRC]"
           development                    of the                           and      instructed               DAI       to "give              me      what          you      ought             to give,           and       follow

                      arrangement."
           your                                               LUO           proposed,               among              other           things,            that      the       illicit          proceeds                obtained


           through             the        Enterprise's                  extortionate                demand                 be      laundered                through              the          Enterprise's                   China


           Merchants                Bank         New          York         Branch         account             located            in New            York          County.


                          68.               LUO             resorted         to      naked         threats            of     violence              and      reminded                  DAI           of    the        reach         and


           power          of        the        Enterprise,               and        warned,             to     wit,         of     DAI's            family           members                   in        China          and        the


           Enterprise's               close           ties     to Chinese               authorities                 to disrupt            KHAN               FUNDS                business.                 The         force          of


           LUO's          myriad               threats        is perhaps              best       exemplified                 by        LUO          cornering             and       blockading                    DAI        in his


           hotel     room            at the          Ritz     Carlton             in Lower              Manhattan                in     September                 2017        and        demanding                    that      DAI




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           kneel        down        and        grovel          as a demonstration                        of LUO's                 authority.               This       humiliating             and        violent      act


           of degradation                 left     DAI         trapped           and        fearful          for     his    personal            safety        until       the    time        LUO         ultimately


           allowed         for     his release.


           IH.           THE         OBSTRUCTION                                 AND          RETALIATION                             SCHEME                   AND         OTHER               HARM

                         A.               Plaintiffs            Report             of the         Enterprise                 to Law           Enforcement


                         69.              Following                DAI's              meetings                with         LUO          in      New           York         County             on         or    around


           September               10,      12,      and        14       2017,         DAI           made          immediate              arrangements                     to    report           LUO          and    the


           Enterprise            to the          FBI      on       or      about           September               21,     2017,        for      violations              of,     to wit,       the        Economic


           Powers         Act       and      crimes            indictable             under          Title         18, United            States            Code,       Sections             1343        (relating       to


           wire     fraud),         1344          (relating           to financial                institution              fraud),       1831         (relating           to economic                   espionage),


           1832         (relating            to        theft       of       trade           secrets),              1956           (relating           to      the       laundering                 of     monetary


           instruments),              2314             (relating           to    the        transportation                   in      foreign          commerce                  any        commodities                and


           technologies              converted                 or taken          by        fraud),       and         1951         (relating        to extortion),                 and       New         York       Penal


           Law      § 155.05(2)(e).


                         70.              On      account             of    initiating             the       FBI         investigation                of     the      Enterprise,            DAI          knew        and


           understood              the      threat         and          reach         of    the       Enterprise              and       caused             KHAN            FUNDS              to        dissolve       its


           affiliated          entities          in the        PRC,        in the process                    liquidating             more        than        one      dozen       private           equity         funds


           that    managed               in excess             of $1BN             in capital.                Further            to these        efforts,           DAI         expended            in     excess      of


           RMB          10MM         to fulfill            obligations                triggered              as a result             of dissolution,                  including             compensation                to


           former        clients         and      employees,                as well           as penalties                 and     damages             for     contractual              breaches.


                         71.              Being         unaware             of the FBI                investigation                 initiated         against          them,       between               September


           2017      through         November                   2017,           YU,        at the direction                 of LUO              and        SUN,       caused          the transmission                 of


           repeated           communications                       by       wire       to     Plaintiffs             in New            York,          in     furtherance              of    the     Enterprise's




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                                                                                                                                                                              Plaintiffs'
           scheme            to extort               RMB 300MM                           from         Plaintiffs           and        solicit          and     coerce                              membership                 to


           the Enterprise.


                            72.               On      or about             January              19, 2018,           federal            authorities              arrested         Shih       in connection               with


           his    illicit        acquisition                 and     export            of export-controlled                           U.S.        technologies,                and     on October                 18, 2018


          -      or approximately                        one        year        into      the     DOJ          investigation                    initiated               Plaintiffs          -                              and
                                                                                                                                                                  by                              Chen,       Shih,


           others           were         indicted            in the         United           States           District          Court           for      the    Central         District          of     California           in


           the     Shih          Matter.             Chen           was         indicted          as a co-conspirator                             in    an alleged             conspiracy               to violate         the


           IEEPA             in         connection                  with          the       illicit          procurement                     of        commodities                 and          technologies               for


          unauthorized                       end     use in China,                  and      as alleged              herein,             LUO           admitted         to financing              Chen,       and upon


          information                   and        belief,         Chen          caused          substantial               amounts                of Enterprise               money         to be deposited                   to


           an offshore                  bank        account           and         directed            these        funds        to be distributed                      to Shih        and       other     members             of


          the Enterprise.                      In or about                 July        2019,          Shih      was       convicted               of conspiracy                to violate           the     IEEPA          and


          the      Export               Administration                          Regulations,                  as     well           as    various              other         crimes         related          to      and      in


          furtherance                   of    this      illegitimate                activity.                Upon         information                   and     belief,        Chen         remains          a fugitive


          from        justice            as of         the     date        of     this     Complaint                 and        has      remained               in the        PRC       since       the     date      of his


          indictment.


                            B.                Defendants                   Obstruction                    and       Retaliation                   Scheme             and      Other         Harm


                            73.               Beginning               on         a date          unknown                 but        no     later         than        November               2017,         Defendants,


          together               with        others,          did     knowingly,                  intentionally,                    and         corruptly            conspire          to   inflict        harm        upon


          DAI        using          the       tactic         of criminalizing                     DAI         and        forcibly          repatriating                him      to the PRC.                The       forced


          repatriation                  of targeted             overseas               Chinese            nationals             -                            those      who      are residents              or citizens
                                                                                                                                     including


          of      other          countries              -     is     prevalent                                                                     in     the        United        States.                                  an
                                                                                             worldwide,                    including                                                                    Typically,


          overseas               target        is intimidated                     through             a variety            of       oppressive               tactics       aimed        at forcing            a target's




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                                                                                       "soft"                                                                              "persuasion"                     -
            return          to     China,            and     the       use      of                       tactics           and      other        forms           of                                               tactics           that


                                 do     not        constitute                                      but           nonetheless              have            the    same             purpose             and             effect        -     is
            facially                                                    kidnapping


            encouraged                  to        avoid     potential            diplomatic                    disputes            and      "the          complicated                   legal         procedures                    and

                                                                                                                                                                                                       hid[ing]."
            long       judicial               cooperation                procedures                    of        the      countr[y]             where            the        [target            is]                                        In


                                                  Defendants'
            furtherance                 of                                scheme             to        inflict         harm        upon         DAI,            Defendants                  adopted               the          telltale


            tactics         of     a forced            repatriation              scheme,               by      supplying              to PRC              law    enforcement                      false          information


            that      DAI         had        committed             various            acts        of     criminal            wrongdoing                    as a means                  to cause                 the     issuance,


            and       thereafter              the      global       broadcast,               of        an        arrest      warrant           for        DAI        in     the     PRC.              Apart             from            the


           mental           anguish               caused        to DAI          and     the threat                 of being           jailed         in the       PRC,           the     global           broadcast                 and


            criminalization                       of DAI         had     the     effect         of restricting                   DAI's         physical              movements,                   as DAI               would            be


           prevented                  from        worldwide             travel        to any            of the            countries         who           honored               PRC        extradition                  requests,


            not       to    mention                 the     countless            other          jurisdictions                     where          the         Enterprise                and           PRC          spheres                 of


            influence              respectively                 extended.              Thus,             the       foregoing             scheme              had          the     effect         of    disabling                   DAI

                                                            FUNDS'
            from       running               KHAN                                worldwide                   businesses               and      restricted              DAI's           ability         to serve                 as the


           primary               executive            and    global          figurehead                  of KHAN                 FUNDS.


                            74.               In reliance            on the          false        information                   provided             by      Defendants                 in criminalizing                          DAI

                                                      Defendants'
            in     furtherance                 of                                scheme,                the        PRC          police         bureau           in     Shenzhen                  initiated               criminal


           proceedings                  against           DAI      and       other        KHAN                FUNDS               employees                and       subsequently                     issued            warrants


           of      arrest        for        DAI      and     other        KHAN               FUNDS                 employees.                  The        consummation                       of       the        scheme             and


           the      eventual                issuance        and        global        broadcast                 of arrest          warrants             for      DAI         and        other         KHAN                FUNDS


           employees                   in     the     PRC        was         carried         out            without          excuse            or justification                     and        with             disinterested


           malevolence                      to harm         DAI.        As      a result           of the          foregoing,             DAI         expended,                 to wit,          remediation                     costs


           in the          form        of legal           fees     in excess            of $200,000                       and     continuing               to accrue               to cause            the        revocation




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           of the      issued             arrest        warrant,               and     fees      excess        of $40,000              for   psychiatric                 treatment.               Further              to this


           effort,        and            adopting                  the     continued                tactics         employed                 of         criminalizing                 DAI           and             forcibly


           repatriating                 him        to        the    PRC,          at the          direction            of    SUN,         and,          upon          information                and         belief,         via



           financing               provided                  by     NATIONS                   USA,         beginning             from         a date             unknown,                  but     no         later         than


           November                 2020           through                no     earlier         than       September                2021         and          continuing             to     the        date         of     this


           Complaint,                Defendants,                     together           with       others,         caused        no      less          than     three        individuals                to     carry         out


           multiple           instances                 of     surveillance                against         DAI       and       his     properties               in    the     State         of New             York          and


           caused        the        collection                of certain             photo        and/or         video        evidence             on various                dates     during            this        period.


           Defendants                   did    knowingly                  and        willfully          conspire            to engage             in    conduct             that     caused,            attempted              to


           cause,       and         reasonably                     expected            to cause          substantial            emotional                 distress           and     harm          to     DAI          in the


           campaign                to     surveil             DAI         without             excuse          or justification,                   and         Defendants              participated                     in    the


           stalking           of        DAI         by         directing              surveillance               activities            and        the         recruitment              of        others            into      the


           conspiracy.                  As     a result             of the       foregoing,             DAI        expended,             to wit,          remediation                 costs        in the           form       of


           security       personnel                     fees       in excess            of $118,000               and        continuing                to accrue            to protect            his        person         and


           properties.


                         75.                  Shih's          arrest       in January              2018,         and        Chen's       indictment                  in October             2018,            alerted         the


           Enterprise              to DAI's                  cooperation               with       law     enforcement.                  In retaliation                 thereof,            at the       direction              of


           SUN,        starting               no   later           than        January           2018       and     continuing               through             no     earlier        than         on        or     around


           July      9, 2021,             Defendants,                    together          with      others,        knowingly,               intentionally,                  and      corruptly               conspired


           to     obstruct,              influence                 and         impede,           hinder,          delay,        and       prevent               the     communication                          to      a law


           enforcement                   officer             of the       United           States       of information                  relating              to the     commission                     of     a Federal


           offense,        and           intentionally                    and     knowingly                retaliated          against            an informant                 for     providing                   to a law


           enforcement                   officer             of the       United           States        any      truthful           information                relating           to the        commission                    or




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          possible        commission                     of any             Federal             offense,              in violation                  of,        to wit,          18 U.S.C.              §§     1512        and        1513.


          Defendants            engaged                 in a pattern                     of obstruction                      and       retaliation                 by        knowingly             promulgating                        false


          and                                information                        -                              false         claims               that         Plaintiffs              had      disappeared                   and         had
                    defamatory                                                        including


          embezzled             and         absconded                     with          millions               of    dollars           -     in     the         form            of    public                                                 as
                                                                                                                                                                                                   announcements,


          well      as causing              the     worldwide                       syndicated                  publication                  of false             and         defamatory                 content          delivered


          to New         York         in     an effort               to     deflect             and       distract             attention                 from          law           enforcement               in    violation             of


          18 U.S.C.            § 1512             (relating                to       tampering              with           a witness,                 victim,               or        an informant)                  and        18 USC


          § 1513        (relating             to    retaliating                      against            a witness,                 victim,                or     an      informant).                    By         attempting              to


          impede         the         criminal              investigation                        of       the          Enterprise,                   Defendants                        sought           to     avoid           criminal


          prosecution            for        the     illicit          acquisition                   of     protected                commodities                          and          technologies                  and    sought             to


          retaliate      against            Plaintiffs               for        their     cooperation                     with      law           enforcement.

                                                                     Defendants'
                        76.            Further             to                                        obstruction                   and        retaliation                    efforts,           at the        time        of        Shih's


          arrest,      Plaintiffs            discovered                     that         the     corporate                   offices          of         a KHAN                      FUNDS             affiliated             entity         in


          Singapore            had     been             burglarized                     and     the       office           door            lock      changed                  without           authorization.                      Upon


          information           and         belief,           this        illegal         activity             was        directed            by         SUN           and       carried         out        by the Enterprise


          to     discourage                Plaintiffs                from               cooperating                   with          law            enforcement.                           Further,             on        or     around


          December              6,     2018,             or      shortly                 following                   Chen's                indictment                   in       the      Shih          Matter,           Plaintiffs

                                                                FUNDS'
          discovered            that        KHAN                                           email           system                had        been           accessed                   without           authorization                     and


          compromised                 to expose                certain              confidential                    and proprietary                        information                  in violation                of    18 U.S.C.

                                                                                                                                                                                                   FUNDS'
          § 1030.         Upon             information                     and        belief,           this        unlawful               cyberattack                   on          KHAN                                 computer


          systems        was         arranged             by         SUN              to be carried                    out       on American                        soil        owing           to the        fact       that       all    of


                        FUNDS'
          KHAN                                 computers                        and      computer                   networks                accessed                   were          physically              located           in    New


          York        County          and         the     State            of       New         York,               and    was         executed                   in     furtherance               of        the     Enterprise's




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            scheme          to retaliate              against         Plaintiffs            for     their     cooperation                   with        law       enforcement.


                           C.              Defendants                  Extortionate                   and         Retaliatory                Scheme


                           77.             At     the       direction          of     SUN,          and      in furtherance                   of the           Enterprise's                 scheme            to retaliate


            and      deter         Plaintiffs            from        cooperating                   with      law          enforcement                    and        defraud              Plaintiffs,          beginning


            from         a date        unknown                 but      no     later        than       on     or        about         May          2,     2018,            Defendants,                  together            with



            others,        did      knowingly,                intentionally,                and       corruptly               conspire           to      commence                    a baseless              and     corrupt


            lawsuit        intended              to extort           Plaintiffs         in violation                   of,    to wit,        18 U.S.C.                   § 1951          and     New         York         Penal


            Law          § 155.05(2)(e),                      and       obstruct,             influence                 and         impede,              hinder,               delay,          and        prevent             the


            communication                       to a law            enforcement                   officer         of    the        United          States           of     information                 relating        to the


            commission                of a Federal               offense,             and     intentionally                   and knowingly                      retaliated              against         an informant


            for    providing             to a law             enforcement               officer             of the           United         States        any            truthful         information               relating


            to     the     commission                    or     possible            commission                     of        any      Federal            offense,               in       violation           of,     to      wit,


            18 U.S.C.              §§ 1512            and      1513.         First,     Defendants                     caused         the covert                filing        of corrupt             and      fraudulent


            lawsuit        initiated             by     wrongful             means          in the          PRC to remove                        the      KHAN                FUNDS              related           entity      as


            the     General           Partner            and        Executive           Partner              of     the       Partnership.                     By        fraudulently                concealing               the


            location          of     the        actual        entities         and      individuals                    controlling               the      Partnership                    from,         and     providing


            fraudulent             information                                          - -and
                                                              to, the        court                           thus        leveraging                the        corrupt          connections                between             the


            Enterprise             and     the        Chinese         judiciary             branch,          the very              type      of government                          access       LUO          threatened


           that     the      Enterprise               could         activate          against          KHAN                  FUNDS           -                                      through          fraudulent              and
                                                                                                                                                   Defendants,


            corrupt        means,           obtained                an unlawful               and         defective             judgment                 of     default             on    or around                February


            14,     2019         enabling             the     Enterprise              to wrongfully                     appoint           an affiliated                    entity         of NATIONS                   to the


           Partnership               as General               Partner         and      Executive              Partner.

                                                                                    Defendants'
                           78.             In     furtherance                of                                   retaliatory             and         extortionate                   scheme,            on    or     around




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            October            27,        2020,         NATIONS                   took      advantage            of its ill-gotten                  position          in the        Partnership              to cause


            the      filing          of        more          spurious             litigation          against         DAI            individually,               together             with       other        KHAN


            FUNDS              employees,                    in Singapore                 (the     "Singapore              Action").              At    the     direction             of SUN           and       others,


            the      Singapore                  Action          employed                  a similar          strategy            and         playbook           to     the         spurious           litigation            in


            China:         fraudulently                      conceal         the      actual         location        of    DAI            and    others         from         the     court      in     an effort            to


            fraudulently                   obtain            a default            judgment             against        DAI,           in    the      millions,           in    contravention                  of     New


            York        law.


                           79.                 In sum,          DAI's            cooperation             with      the DOJ              has extended                 over      a number              of years         and


            contributed                   to    the     indictments                 of     certain        members               of     the      Enterprise             as stated             herein,        and       it    is


            incontrovertible                          that      these            individuals             along        with            other         members              of        the       Enterprise             have


            committed                 a number                 of     serious            crimes        against        U.S.           interests         and      continue             to      conspire         against


            DAI         in retaliation                 for     his    cooperation                 with     law      enforcement.                    Accordingly,                   Defendants              and      other


            members                 of the Enterprise                      must      answer          to Plaintiffs             for     their      actions.


            IV.            DAMAGES

                              80.              As      a direct        result        of the racketeering                       activity         alleged         above,         as well          as the conduct


           of the        other            participants               in the       RICO           enterprise,         Plaintiffs              have      been      injured            in their         business         and


           property             as         follows:            (i) Defendants                    made       intentional                material           misrepresentations                          of    fact      and


           omissions                 in     entering           into        the     Partnership             Agreement                  with       the    KHAN             FUNDS                affiliated           entity


           Khan          Funds             China.            Among           other         things,       Defendants                  misrepresented                  that     they        intended           to abide


           by     the     Partnership                  Agreement,                  including,            to wit,     § 2.6.5            (allowing            KHAN             FUNDS             to manage              the


           affairs        of the Partnership                          without            participation             or interference),                   § 2.6.6         (allowing             KHAN           FUNDS


           to      independently                        make           investment                 decisions              for      the        Partnership               without               participation                 or


           interference),                      and      § 6.1         of    the      Partnership                Agreement                 (providing             KHAN               FUNDS              investment




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            decision-making                        authority            for    the      Partnership).                        KHAN                 FUNDS            relied          on    Defendants                 false      and



           misleading                 representations                   to its detriment,                       including               by        entering         into     the     Partnership                   Agreement


           with       NATIONS,                      and      Defendants                    knew          that         the       representations                    and      omissions                 were          false      and



           misleading                  and       made        with       the       intent        and        expectation                    that       KHAN              FUNDS              would            rely     on      them.


           KHAN                FUNDS               has       suffered             injury        as a direct                     and       proximate               result       of        Defendants                 false      and



            misleading                 representations                    and        omissions,                    including                but      not        limited        to        monetary                 damage         in


            excess        of $1MM                  relating           to money              expended                  on consulting                    and       research           services,              extensive           due


            diligence               costs        and      legal       fees        expended               in     connection                   with         the     investigation                of     potential             target


            acquisitions,                    and       extensive               travel,              operational,                      and         related          overhead                costs           expended               in


            connection                 with        facilitating             the     proposed               transactions;                     (ii)    in     or around              October            2017,          resulting


            from         the        initiation          of    the      DOJ          investigation                     of     the       Enterprise                and      DAI's           inability           to return           to


            China         on account                 of the       threats           issued          by     the        Enterprise,                   KHAN          FUNDS                 was      forced           to dissolve


            affiliated              entities           Khan         Funds            China            and          liquidate                all      fourteen             hedge           funds        under             KHAN

            FUNDS'
                                management.                       KHAN               FUNDS                 has        suffered              injury          as a direct            and        proximate              result      of


            Defendants'
                                         conduct,             including              but      not        limited             to       monetary               damage           in        excess        of     $150MM               in


            management                    fees      and      related          profits         arising            from           the    liquidation                of the      fourteen              hedge          funds       and


            closure            of      affiliated            entities          and         RMB             10MM                 to    fulfill         obligations              triggered               as         a result       of


            dissolution,                including             compensation                     to     former                clients          and      employees,               as well              as penalties               and


            damages             for       contractual                 breaches;             (iii)     in      or      around              March           2018,         KHAN              FUNDS               was        denied

                                                                                                                                             FUNDS'
            custodian                services          by     First      Republic               Bank            for     KHAN                                      planned           U.S.-based                hedge           fund


            offerings,              citing       the      false       and     derogatory                   information                    promulgated                  by   Defendants                 in violation              of


            18 U.S.C.                § 1512          (relating          to tampering                     with          a witness,                 victim,         or an informant)                     and          18 U.S.C.



            § 1513         (relating               to retaliating                 against           a witness,                  victim,           or an         informant).                KHAN              FUNDS             has




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                                                                                                                              Defendants'
           suffered            injury         as a direct               and         proximate              result       of                               conduct,         including               but      not     limited


           to     monetary              damage                 in    the       form         of     lost     management                     fees      and       related         fund       profits,          and         being


           forced        to incur             the        overhead              and         operating            expenses             of    KHAN             FUNDS              without         the       benefit           of a


           U.S.-based                hedge          fund            offering.              The        monetary             damage            incurred           by    KHAN             FUNDS                relating         to


           its     inability           to     commence                   its     planned              U.S.-based               hedge         fund        offerings             is in     excess           of     $50MM


           and      is continuing,                   including                 but    not        limited         to with         monthly             overhead            and      operating              expenses            of


           KHAN                FUNDS                in     excess              of     $200,000                  and     continuing                  to   accrue          through             the         date      of      this


           Complaint;                 (iv)    KHAN                  FUNDS              has lost           its goodwill               and     business            reputation            in the United                  States


           and       elsewhere                owing             to     the       false          and       derogatory             information                 promulgated                  by       Defendants                in


           violation            of      18 U.S.C.               § 1512           (relating              to tampering                with      a witness,             victim,       or an informant)                        and


           18 U.S.C.              § 1513            (relating              to retaliating                  against           a witness,           victim,          or an informant),                      resulting          in


           loss      of business                  opportunities;                     (v)    DAI         has      spent        and      continues            to spend            significant               amounts            of



           money          to      defend            the        corrupt              and      fraudulent               legal      proceedings                instituted            by     Defendants                   in   the


           Singapore                 Action          in        an     attempt              of     the      Enterprise             to       extort        and       retaliate          against            Plaintiffs          in


           violation            of      18 U.S.C.                   § 1951           and        the     federal         mail        and      wire        fraud        statutes.             DAI         has      suffered

                                                                                                                  Defendants'
           injury        as      a direct                and        proximate                result        of                                 conduct,             including             but       not      limited          to



           monetary              damage             in the            amount               of nearly            $1MM           in legal           fees     expended             in connection                    with      the


           forced        defense              of the           corrupt          and         fraudulent              Singapore              Action        and       continuing               to accrue            through


           the date          of this         Complaint.


                          81.                As     a direct           result         of the racketeering                       activity          and      other      unlawful            activity          as alleged


           above,        DAI          has been                 injured          as follows:                (i) KHAN              FUNDS               and       its affiliated            entities          are closely


           associated             and        identified               in the public's                   mind        with       DAI         as its founder              and      lead      executive,              and      the


           false       and       derogatory                    information                  promulgated                  by      Defendants                 concerning                DAI         in     violation           of




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           18 U.S.C.              § 1512        (relating             to tampering                with        a witness,            victim,                  or an informant)                      and        18 U.S.C.



           § 1513           (relating        to     retaliating            against           a witness,              victim,            or        an     informant)                   have         damaged            DAI,


           KHAN              FUNDS,           and         its    related         entities          through            the      loss          of    goodwill                 and        irreparable              harm         to


           DAI's            business         reputation,                resulting            in     loss        of    business                opportunities;                       (ii)      as     stated        herein,

           Defendants'
                                    scheme           to inflict           harm         upon        DAI         caused         DAI            to expend,                to wit,            legal        fees     to cause


           the     revocation             of the         issued         arrest      warrant              against        him        in    excess               of     $200,000               and        continuing            to


           accrue,          and     remediation                 costs      in    the    form            of    security         personnel                     fees     in    excess            of    $118,000            and



           continuing             to accrue          to protect             DAI's           person           and     properties,                  and        legal     fees        to protect             against        the

                                                                           FUNDS'
           extradition            of DAI           and     KHAN                                   employees              in excess                of $1MM                  and     continuing                 to accrue;

                                                                                                                         Defendants'
           and     (iii)     in or around                October          2018,        resulting              from                                       actions            and       harm         issued        against


           DAI,            DAI      was       diagnosed                 with        Major              Depressive                 Disorder                   and       prescribed                  a     regimen             of


           antidepressant                 medication              and      expended               in     excess         of    $40,000                  for    psychiatric                 treatment,            and     has


           further          suffered       from          other        consequential                physical            infirmities                 resulting               from        the       foregoing.             The


           aforementioned                    psychological                       deficits              and       physical                infirmities                   have            caused             significant


           impairment               to     DAI's          cognitive              abilities          in       connection             with            his        profession                  and      impaired            and


           obstructed             his    ability         to function             at the       same           professional                standards                   achieved              prior       to sustaining


           the     suffered         injuries.            Accordingly,                  DAI         has       suffered          injury             as a direct               and        proximate               result     of

           Defendants'
                                        conduct          in      an     amount           to        be        determined                 at    trial,           and         taken           together            with     the


           aforementioned                  damages               and      all    damages                sustained            by    KHAN                  FUNDS,                  no       less     than       $260MM


           and     continuing             to accrue             as stated         herein.




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                                                                                       CAUSES                   OF ACTION


                                                                                                         COUNT           I
                                                                                 RICO              (18     U.S.C.        § 1962(C))


                         82.            Plaintiffs              reallege           and            incorporate            by      reference                  all        prior         paragraphs                  of        this


           Complaint             and paragraphs                   in the         counts           below         as though            set forth         fully           herein.

                                                                                  "persons"
                         83.            Defendants                 are     all                             within        the    meaning                of       18 U.S.C.              § 1961(3).                    At     all


           times      relevant,              Defendants            conducted                 the     affairs         of an association-in-fact                                enterprise,              as that        term


           is   used        in        18 U.S.C.                § 1961(4),              compromised                      of     themselves                    and          additional               entities                and


           individuals               known            and       unknown                through             a pattern            of     racketeering                      activity           in         violation             of


           18 U.S.C.           § 1962(c).


                         84.            As      described             above,           from          a date          unknown,               but   no         later           than     in    or     around             June


           2011       and      continuing              through           the      date       of this           Complaint,             the     members                   of     the    Enterprise                worked


           together         to further              their      mutual          goals         of    illicitly        procuring           protected                 technologies                   for     end         use     in


           China.


                         85.            As      described            above,         each           of the Defendants                   participated                    in the        creation,            operation,


           or   management                     of     the      Enterprise,             and          each        received         income              or         other          benefits           and          enriched


           themselves             directly           and      indirectly          from            such     efforts.


                         86.            As      described             above,           the        Enterprise            operated            within              the     States         of   New               York        and


           California            and     elsewhere,              including             overseas.


                         87.            As          described           above,          the        Enterprise            was         engaged              in,      and         its    activities               affected,


           interstate          and     foreign          commerce.


                         88.            As      described            above,            the        Enterprise           had     an ongoing                   organizational                   framework                      for



           carrying         out        its     objectives.                 The     Enterprise                  has     organized              itself            into         a cohesive                 group         with


           specific         and      assigned               responsibilities                 and       a command                structure            to      operate             as a unit               in    order         to



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           accomplish             the         common              goals       and            purposes              of     illicitly          procuring                  protected               commodities                 and


           technologies               for     end     use in China.


                         89.            As         described                                  Defendants                  and           several              of     their         associates             share            long-
                                                                         above,


           standing            personal,              professional,                 and          fmancial                 ties,         and           these         pre-existing                  affiliations              and


           common              ties         facilitated           the      ability             of      Defendants                     to      combine,                  merge,             and        conspire            with


           themselves             and        others        to form         their         racketeering                    enterprise               with        the      common              purpose           of illicitly



           procuring           protected             technologies                 for        end use in China.

                                                                                                                        defendants'
                         90.            By          and      through              each           of      the                                          business,                personal,              and        financial


           relationships              with          one      another          and            their      coordination                       with         one         another           in     the       affairs       of      the


           Enterprise,            each         defendant            knew          the        nature          of     the     Enterprise                  and        each        defendant              knew        that      the


           Enterprise           extended             beyond          each         defendant's                 individual                role.


                         91.            As         described            above,          each          defendant               agreed             to     facilitate,            conduct,            and      participate


           in    the    conduct,             management,                  or operation                  of        the     Enterprise's                   affairs         in    order         to illicitly           acquire


           and       export     protected             technologies                 and        commodities                    in violation                    of    18 U.S.C.              § 1962(c).


                         92.            As         described            above,           SUN           and         LUO            are      the        masterminds                    of    the     Enterprise.                In


           their       capacity         as the            masterminds                   of    the      Enterprise,                    SUN         and         LUO           had      final       authority           on      all


           significant          business             decisions            of the         Enterprise,                and       together                with        YU     and       others,         are responsible


           for     creating,          approving,             and        implementing                    the        policies,               practices,              and        instrumentalities                  used        by


           the     Enterprise           to accomplish                   its common                    goals        and       purposes.                  Together              with        YU,      SUN         and        LUO


           are responsible                   for    the     day-to-day              operations                 of the          Enterprise.                        SUN       and      LUO          have       also     taken


           actions        and         directed            other         members                 of     the         Enterprise,                   including               HUANG,                  to     take        actions


           necessary           to accomplish                  the       overall          goals         and        purposes              of the          Enterprise,               including             directing           the


           affairs       of     the         Enterprise,             funding              the         Enterprise,                  soliciting                 and       recruiting               members              of     the




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           Enterprise,             and      directing            members            of the        Enterprise.


                         93.              As      described           above,         NATIONS                    and    NATIONS                 USA           have        been           active         participants


           and    central          persons          in the         operation              and     management                  of the        Enterprise                and        its       affairs,         and     in the


           orchestration,                perpetration,               and     execution                of the Enterprise's                   scheme              to illicitly               procure           protected


           technologies              and       commodities                 for    end use             in China.


                         94.              As      described              above,       HUANG                    associated            with      the       Enterprise                    and        participated              in


           the    conduct            of     its     affairs,         including             HUANG's                    intentional             solicitation               and           encouragement                        of


           Plaintiffs          to become             members               of the Enterprise                     and     inducement                 of Plaintiffs                 to commit                  crimes         in


           furtherance             of Enterprise                 objectives.


                         95.              As      described           above,         each         defendant             conducted             and/or            participated                  in the         affairs        of


           the    Enterprise                through             a pattern            of        racketeering              activity,           including                the        illicit          acquisition               of


           restricted          technologies                in violation             of the         Economic              Powers         Act         and        crimes         indictable                   under        Title


           18,    United            States          Code,          Sections           1343            (relating          to    wire          fraud),            1344          (relating                to     financial


           institution          fraud),           1831         (relating         to economic                  espionage),            1832          (relating          to theft              of trade           secrets),


           1956        (relating          to the      laundering              of monetary                     instruments),            2314            (relating         to the             transportation                  in


           foreign         commerce                 any        commodities                 and        technologies             converted                  or     taken           by        fraud),          and         1951



           (relating        to extortion)                and New            York          Penal        Law       § 155.05(2)(e).


                         96.              As      described           above,         beginning                 on     a date    unknown                   but      no       later          than       in    or around



           May         2014        through           no        earlier       than         in     or    around           November                   2017,         in     New             York          County              and


           elsewhere,            Defendants,                   together       with        others,        knowingly              and         with       the      intent        to solicit,              recruit,           and

                                                                                                                                                                                                            Plaintiffs'
           defraud            Plaintiffs,            devised,              participated                 in,      and       executed                a     scheme               to        solicit


           membership               and        participation               in the         Enterprise,               defraud         Plaintiffs             as to material                     matters,             and      to


           use    threats           of      force         to      compel          Plaintiffs             to      commit          multiple                crimes             in        furtherance                  of     the




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           Enterprise,            including              the      illicit         acquisition              of restricted               technologies                       in violation              of the        Economic


           Powers          Act       and     crimes            indictable                under          Title      18, United                   States        Code,            Sections             1343         (relating         to


           wire      fraud),          1344       (relating             to financial                 institution             fraud),             1831      (relating                 to economic                  espionage),


           1832          (relating         to     theft           of        trade        secrets),              and        1956        (relating              to         the        laundering              of     monetary


           instruments).                Defendants                     and         others         further         devised,            participated                      in,    and      executed             a scheme              to


           extort        RMB          300MM               from         Plaintiffs                in violation              of      18 U.S.C.             § 1951                and      New         York          Penal         Law


           § 155.05(2)(e)                  by     use        of        threats           of      force,         violence,             and         fear     in           an     effort       to      use      Plaintiffs            to


           launder          the      racketeering                   proceeds                of    the     Enterprise                and         finance             members                 of     the      Enterprise             in


           furtherance               of Enterprise                objectives.


                          97.           To       wit,        as described                     above,        from           no      later        than     in        or     around            November                   23,    2015


           and      continuing             no earlier               than       November                   2017,       in New               York        County                 and     elsewhere,             Defendants,


           together          with       others,           did       knowingly                     and     intentionally                    devise         a scheme                    and        artifice         to     defraud


           Plaintiffs,           and    to obtain              money               and        property           from        Plaintiffs,            by     means                of one           or more          materially


           false      and       fraudulent              pretenses,                  representations,                    and        promises,              and           for     the     purpose             of     executing


           such          scheme            and          artifice,             to      transmit              and         cause              to     be      transmitted                    by         means               of      wire


           communication                   in interstate                    and      foreign         commerce,                  writings,              signs,            signals,        pictures,            and        sounds,


           contrary          to 18 U.S.C.                 § 1343             and      18 U.S.C.                 § 1951.


                          98.           To       wit,        as        described                 above,          no        later      than          in    or        around              September                  2017           and


           continuing                through            no        earlier            than         November                  2017,           in      New            York             County            and         elsewhere,


           Defendants                knowingly                 aided,          abetted,            counseled,                commanded,                    induced,                  solicited,             and        procured


           another          person          to    transport,                  transmit,             and         transfer           a monetary                      instrument                and         funds,          that      is,


           RMB        300MM,               to    a place               in    the      United            States,         within             New         York             County,          specifically,                  a China


           Merchants              Bank           New           York           Branch              account,            with          the         intent        to        promote             the       carrying               on    of




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           specified       unlawful           activity             in violation             of     18 U.S.C.                 § 1956.


                        99.          To      wit,           as     described           above,              no        later        than        in     or     around              September                 2017        and



           continuing            through            no       earlier          than         November                      2017,         in     New           York         County              and         elsewhere,


           Defendants,             together              with           others,       did         knowingly                      and        intentionally                attempted                 to     transport,


           transmit,       and      transfer           monetary               instruments                 and       funds,          to wit:          wire         transfers,          from         one        or more


           places       in the     United           States          to and          through             one        or more             places         outside           the      United           States        and      to


           one    or more         places       in the United                      States         from      and           through            one     or more            places         outside           the    United


           States,       with      the      intent           to      promote               the      carrying                 on     of       specified              unlawful            activity,             to     wit:


           conspiracy           to violate          the Economic                    Powers           Act,          all    contrary            to    18 U.S.C.                § 1956.


                        100.        As      described                above,          from         January                2018       and       continuing                through            July         9, 2021,         at


           the    direction         of    SUN,              each        defendant              together              with         others,           did     knowingly,                intentionally,                  and


           corruptly            attempted              to         obstruct,           influence                 and            impede,              hinder,            delay,         and          prevent            the


           communication                 to a law                enforcement               officer         of       the        United         States         of     information               relating             to the


           commission             of a Federal               offense,          and      intentionally                     and knowingly                     retaliated           against          an informant


           for   providing          to a law             enforcement                 officer         of the              United         States        any         truthful        information                 relating


           to    the    commission                or        possible           commission                     of         any      Federal            offense,            in     violation               of,    to    wit,


           18 U.S.C.          §§ 1512        and         1513.


                        101.        As       described                  above,        from           on       or     about          May            2018         and      continuing                 through           the


           present,      at the      direction              of     SUN,        Defendants,                  together              with        others,         knowingly,               intentionally                  and


           corruptly          commenced                  a corrupt                lawsuit          intended                 to    extort           Plaintiffs            in     violation               of,    to    wit,


           18 U.S.C.          § 1951        and        New          York      Penal         Law           § 155.05(2)(e),                     and     obstruct,               influence,           and        impede,


           hinder,      delay,      and      prevent              the     communication                       to a law             enforcement                     officer       of    the    United             States


           of information            relating            to the          commission                of      a Federal               offense,           and       intentionally                and        knowingly




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           retaliated          against            an informant                for     providing            to        a law        enforcement                     officer         of    the        United          States


           any      truthful             information               relating          to    the      commission                    or     possible             commission                      of    any       Federal


           offense,         in violation               of,    to wit,        18 U.S.C.            §§ 1512            and         1513.


                           102.           As       described               above,         each         defendant                 received            income               and         other         benefits          and


           enriched          themselves                directly         and     indirectly             from      the pattern                  of racketeering                    alleged           herein.


                           103.           As      described                above,         Plaintiffs          have           been         and        continue               to     be       injured          in      their

                                                                  Defendants'                                                                                                          Plaintiffs'
           business          and         property            by                            violation            of    18 U.S.C.                § 1962(c).                All     of                           injuries


           occurred          within          the United              States.


                                                                                                    COUNT                  H
                                                                  RICO         CONSPIRACY                            (18     U.S.C.           § 1962(D))


                           104.           Plaintiffs              reallege          and       incorporate                   by      reference               all      prior         paragraphs                  of     this


           Complaint              and paragraphs                    in the     counts         below           as though                set forth          fully      herein.


                           105.           As      described             above,         from        a date            unknown,                 but    no      later        than         in     or    around           June


           2011      and       continuing              through          the    date       of this        Complaint,                 within          New           York         County         and      elsewhere,


           Defendants,                 together          with       others,          knowingly             and         intentionally                 conspired                 and      agreed          with         each


           other      to     illicitly           acquire          and       export        protected             commodities                     and        technologies                     from      the      United


           States       to        the      PRC          for       unauthorized                   end     use          in     China.                 The       manner               and         means           of      the


           aforementioned                        conspiracy                include           the        preceding                  allegations,                   which            are         realleged              and


           incorporated                 by referenced                as though            set forth        fully           herein.


                           106.           As     described            above,         Defendants               and          others        agreed           to develop              the       high      technology


           industries             in       the      PRC,            including              the         high-powered                      integrated                 circuit            industry              and       the


           establishment                  of a foundry              in the      PRC         in which            MMICs               would           be manufactured.


                           107.           As      described             above,        by      and       through             each         of    the    defendant's                     business,           personal,


           and     financial             relationships              with      one     another           and     their        coordination                  with          one     another            in the        affairs



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           of the       Enterprise,                   each      defendant                knew        the nature               of the        Enterprise            and      each      defendant            knew          that


           the      Enterprise                 extended              beyond             each       defendant's                 individual            role.          Moreover,              through         the       same


           connections                    and        coordination,                  each        defendant             knew           that     the     other          defendants            were         engaged           in


           the conspiracies                         described              herein.


                             108.              As     described              above,           each      defendant              was      a knowing,                willing,         and     active        participant


           in the       Enterprise                   and     its        affairs,        and     each       of      the    defendants                shared           a common              purpose,             namely,


           the      orchestration,                     planning,                 preparation,             and        execution               of     the      scheme          to     solicit,          defraud,          and


           harm        Plaintiffs               economically                      and    otherwise.                The        participation                and      agreement             of     each     defendant


           was       necessary                 to allow         the commission                         of this       scheme.


                             109.              As     described              above,           Defendants,                together            with         others,         conspired            with      each        other


           to      violate           18 U.S.C.               § 1962(c).                   Defendants                  knowingly                   agreed,           combined,              and        conspired           to


           conduct             or        participate               in      the     affairs        of     the       association-in-fact                       Enterprise              and        each      defendant


           agreed            that        the        operation             would          involve          repeated              violations            of     the      Economic                 Powers          Act      and


           crimes           indictable               under         Title         18, United            States        Code,        Sections            1343          (relating        to wire          fraud),          1344


           (relating           to fmancial                 institution               fraud),           1831        (relating           to economic                  espionage),            1832         (relating         to


           theft      of trade             secrets),            1956         (relating           to the         laundering              of monetary                  instruments),               2314       (relating


           to the       transportation                     in foreign               commerce               any       commodities                    and     technologies               converted               or taken


           by      fraud),          and        1951      (relating               to extortion)            and       New York                Penal         Law       § 155.05(2)(e).


                             110.              As     described              above,           Defendants,                together            with         others,       conspired              with     each         other


           to violate               18 U.S.C.              § 1962(a).                   Defendants              knowingly                agreed,            combined,               and     conspired            to use


           or      invest       the        proceeds             of        racketeering                 activity,         to     wit,        income           derived         from         crimes         indictable


           under        18 U.S.C.                    § 1951         (relating            to     extortion)            and       New          York         Penal       Law          § 155.05(2)(e),                in    the


           operation                of     a RICO               enterprise,                an     enterprise              that         engaged             in,      and      the     activities           of     which




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           affected,          interstate          and    foreign          commerce.


                           111.          As     described            above,           from        January             2018           and         continuing                  through              July      9,        2021,


           Defendants,                together          with       others,           conspired              with       each           other         to     violate               18 U.S.C.                § 1962(c).


           Defendants                knowingly               agreed,          combined,               and          conspired               to     obstruct,                influence                and         impede,


           hinder,          delay,       and      prevent          Plaintiffs           from         providing               information                  to         the     FBI            and     intentionally


           retaliated          against         Plaintiffs         for     providing            information              to the             FBI      in violation                  of,       to wit,       18 U.S.C.


           §§ 1512           and      1513.


                           112.         As      described               above,        from        on        or      about          May          2018        and            continuing                 through            the


           present,          Defendants,                together             with       others,         conspired                   with         each           other            to     violate           18 U.S.C.


           § 1962(c).                Defendants                knowingly              agreed,          combined,                   and       conspired                 to        commence                  a corrupt


           lawsuit          intended          to extort         Plaintiffs           in violation             of,    to wit,          18 U.S.C.                 § 1951            and        New         York         Penal


           Law           § 155.05(2)(e),               and      obstruct,            influence              and      impede,              hinder,          delay,            and           prevent         Plaintiffs


           from      providing             information             to the FBI             and       intentionally                  retaliated            against            Plaintiffs             for    providing


           information               to the     FBI      in violation               of, to wit,        18 U.S.C.               §§ 1512             and          1513.


                           113.         As      described               above,         Plaintiffs            have       been              and      continue                 to        be      injured           in     their

                                                               Defendants'                                                                                                                 Plaintiffs'
           business          and       property         by                              violation            of     18 U.S.C.               § 1962(d).                 All        of                            injuries


           occurred           within       the United             States.


                                                                                                 COUNT                m
                                                                                                     FRAUD


                           114.         Plaintiffs             reallege          and       incorporate                 by          reference              all        prior            paragraphs                 of     this


           Complaint              and    paragraphs              in the       counts       below            as though               set forth          fully         herein.


                           115.         As      described            above,           among          other          things,           Defendants                     made             intentional           material


           misrepresentations                     of    fact     and      omissions             in entering                 into      the       Partnership                  Agreement,                   including,


           to     wit,      § 2.6.5        (allowing             KHAN               FUNDS              to        manage             the     affairs             of     the        Partnership                   without



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          participation                 or    interference),                    § 2.6.6               (allowing               KHAN             FUNDS                   to      independently                     make


          investment              decisions          for        the    Partnership                    without          participation                or interference),                     and        § 6.1      of   the



          Partnership             Agreement               (providing               KHAN                FUNDS                investment             decision-making                        authority            for   the


          Partnership).


                          116.          At   the     time        Defendants                    knowingly               made         and     caused          the        above-described                    material


          false      and        fraudulent           pretenses,               representations,                        and     promises,             and         concealed                and        omitted,         and


          caused          to be concealed                  and        omitted,               material         facts         as set forth            above,         Defendants                    knew        that     the


          material          pretenses,              representations,                         and       promises              were         false,         that      material              information                 was


          concealed              and    omitted,          and that            their          facts     and       omissions           were          fraudulent               and     deceptive.

                                                                                                     Defendants'
                          117.          KHAN          FUNDS                  relied           on                               false       and      misleading                 representations                   to its


          detriment,             including          entering           into      the Partnership                      Agreement              with        NATIONS.


                          118.          Defendants                    knew            that           the     representations                       and          omissions                were          false         and


          misleading              and     made       with        the    intent          and          expectation             that    KHAN             FUNDS                 would         rely       on them.

                                                                                                                                       Defendants'
                          119.          KHAN               FUNDS                reasonably                    relied           on                                      misrepresentations                            and


          omissions,              without          which         KHAN              FUNDS                   would        not     have        agreed              to enter          into     the       Partnership


          Agreement.


                          120.          As        described              above,                the         above-described                       false           and         fraudulent                pretenses,


          representations,                   and      promises,                 and            concealment                   and       omissions                 made             by      and         caused          by


          Defendants               were       material            because               if     Plaintiffs             had      known          that         the     Enterprise                  had      sought         to


          solicit     their       involvement               in the       illicit        procurement                    of protected                commodities                    and     technologies               for


          end       use    in     China       and      other           crimes           as described                   herein,         they        would           not       have        entered          into       the


          Partnership             Agreement                or    expended                money              on     consulting              and      research                services,          due      diligence


          costs      and        legal     fees,     and         extensive             travel,          operational,              and       related         overhead               costs        in     connection




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           with      the biopharma                   acquisition.


                         121.           As      described                 above,         KHAN              FUNDS               has suffered                   injury      as a direct                and     proximate


                               Defendants'
           result       of                                false           and       misleading                 representations                          and      omissions,                including               but        not


           limited       to monetary                  damage               in excess            of     $1MM              relating              to money             expended                on       consulting               and


           research           services,          extensive                due      diligence               costs,        and        legal        fees     expended              in    connection                  with        the


           investigation                of      potential             target         acquisitions,                    and           extensive             travel,            operational,                  and       related


           overhead            costs      expended              in connection                   with         consummating                        the proposed                 transactions.


                         122.           As       described                above,         Defendants                   sought              to     obtain         money           from         DAI           and      KHAN


           FUNDS              by     means           of material             false       and         fraudulent              pretenses,                 representations,                   and        promises,               and


           the      concealment                 of    material             facts,        in    violation              of       18 U.S.C.                § 1951          and      New          York          Penal          Law


           § 155.05(2)(e)                in an effort                to use Plaintiffs                     to launder               the        racketeering             proceeds              of the         Enterprise

                                                                                                                                                                                                                Plaintiffs'
           and       finance          members             of        the     Enterprise               and       others.               Defendants                  sought          to    leverage


           contractual               obligations               in     connection                    with       the         Partnership                  Agreement                to        solicit         and        recruit


           Plaintiffs          to      the      Enterprise                 and      to        defraud           Plaintiffs                of      RMB           300MM.                 As        a result             of      the

                                                                                                                                                                                            Defendants'
           foregoing,              Plaintiffs          have          suffered            injury         as a direct                  and        proximate              result         of                                   false


           and      misleading                representations                    and      omissions,                 including                  but     not     limited          to    certain             remediation


           costs      as described               above.


                                                                                                       COUNT                   IV
                                                                                                    DEFAMATION


                         123.           On       July       9, 2021,               defendant                NATIONS                   published                 Announcement                         No.     2021-058,

                                                                                                                                                                                                            Litigation"
           about        and        concerning           Plaintiffs,              with         the     headline,             "Announcement                         Regarding                 Major


           (the      "Announcement").


                         124.           The          Announcement                      concerned                the        Singapore                  Action,          and      described              the       litigation

                                                                                                       funds"                                                                                                     contact"
           as a demand                 that     DAI       "return            embezzled                                   after        NATIONS                   had      suffered             "loss        of



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           with      DAI        and     an affiliated               entity       of KHAN               FUNDS           in November                2017.            NATIONS                   repeated           the


           false       and        defamatory                claim         that      in     November               2017        NATIONS                   was        "unable           to       contact           the

                                                                               Khan]"
           relevant           personnel             of      [Beijing                             and       that   NATIONS                   initiated          litigation            to      recover            the

                                                                                                           contact"                                      others."
           allegedly            embezzled             funds         "[a]fter       the      loss    of                      with     DAI        and


                           125.          These        statements               are false           and     defamatory              because        they        falsely          state,        suggest,          and


           depict       that:      (i) DAI          is a criminal                who       had     embezzled            money,         (ii)     DAI          is an absconding                      thief,      and

                                                                                                                  contact"
           (iii)     DAI      is a fugitive              with      whom          justice         had     "lost                      after      embezzling                money.


                           126.          At    no time            was        DAI       a criminal           who       had     embezzled               money.             At     no time             was     DAI

                                                                                                                                                                                        contact"
           an absconding                  thief.         At       no    time       was      DAI          a fugitive         from     justice          who          had    "lost                             after


           embezzling                 money.


                           127.          The       foregoing              defamatory               and      libelous         statements            have            caused         and         continue           to


           cause       irreparable             harm           to DAI's           personal          and      professional             reputations,               and      have        caused           DAI        to


           suffer      severe          embarrassment,                    humiliation,              and      emotional          distress         and      mental          anguish.


                           128.          The       foregoing              defamatory               and      libelous         statements            have            caused         and         continue           to

                                                                                 FUNDS'
           cause      irreparable              harm        to     KHAN                              business          reputation,             business          operations,               and       financial


           condition.


                           129.         The        foregoing              defamatory                statements           were        untrue           and       defamatory                   in    that     they


           falsely         reported           and        mischaracterized                   DAI's           character         and      actions,              and      NATIONS                     knew       that


           such      statements            were          false.


                           130.         NATIONS                   knowingly                and      intentionally             published,                or    caused            to      be        published,


           these      false       and     defamatory                   statements           with         actual    malice          toward        Plaintiffs              and     with         knowledge


           of their        falsity.


                           131.         The        foregoing             statements              constitute           defamation              and/or          libel      per      se because                they




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           falsely        portray          DAI         as   a criminal             who        intentionally,                 maliciously,                  and        deliberately                 embezzled

                                             "disappeared"
           money        and      then                                     with     the money                as an absconding                     thief         and       fugitive          from         justice.


                          132.          The          foregoing           statements           constitute             defamation                 and/or           libel       per         se because                they


           falsely      portray          KHAN              FUNDS            as a sham          and      fraudulent                company            that         is led      by         DAI,       a criminal


                                                                                                                                                                              "disappeared"
           who       intentionally,              maliciously,               and     deliberately              embezzled                 money            and       then                                          with


           the money             as an absconding                   thief        and    fugitive        from        justice.


                          133.          These          foregoing            statements             constitute            defamation              and/or           libel       per        se because                they

                                             Plaintiffs'
           falsely        impugn                                   honesty,            integrity,           trustworthiness,                     dependability,                     and         professional


           fitness        and       abilities,             and     falsely         charged             DAI          with          engaging               in      criminal                conduct,            fraud,


           dishonesty,            theft,         and/or          other       conduct          that      would              tend      to    injure             Plaintiffs            in     their         trade       or


           business,        and       any      trade,       business,            or profession              which          Plaintiffs         may          seek         to pursue.

                                        NATIONS'
                          134.                                    defamatory               statements               about          Plaintiffs             and        NATIONS                    causing             the


           worldwide                syndicated                    publication                thereof               and            endorsement                        by        leading                  financial


           information/services                        companies             throughout               the        world,           has     had,       and         will       continue               to     have,           a

                                                                                          Plaintiffs'
           devastating            and        irreparable            impact         on                             personal,             professional,                   business,           and         financial


           future.


                                                                                                 COUNT               V
                                                                                       PRIMA          FACIE              TORT


                          135.          Plaintiffs           reallege            and      incorporate                by       reference              all        prior        paragraphs                    of      this


           Complaint             and paragraphs                  in the      counts        below        as though                 set forth       fully         herein.


                          136.          As     described            above,         among            other        things,       Defendants                jointly           and       severally             sought


           to intentionally                inflict       harm       upon         DAI      through           the     use      of tactics           criminalizing                     DAI         and      forcibly


           repatriating           him        to the        PRC.          Defendants           acted         without           excuse          or justification                     in providing                  false


           information            to the         PRC police               that    DAI      had       committed               various          acts       of criminal                wrongdoing                     as a



                                                                                                            52




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           means         to cause            the     issuance,             and      thereafter               the     global         broadcast,           of an arrest                   warrant         for     DAI         in


           the    PRC,          and      causing           the      stalking              of     DAI         in     the      State       of    New       York           by       directing          surveillance


           activities          that     caused,           attempted              to cause,             and        reasonably             expected            to cause            substantial             emotional


           distress       and         harm      to DAI.


                          137.           As        described          above,           DAI            has     suffered             injuries         as a direct             and        proximate              result        of


           Defendants'
                                      conduct,            including,               to wit,         remediation                 costs          in the     form          of      legal      fees     to     cause        the


           revocation            of the        issues        arrest        warrant              and     legal        fees      to protect            against          the      extradition           of DAI            and

                          FUNDS'
           KHAN                                employees,              fees         for        psychiatric              treatment             from      the         emotional            distress         caused            to

                                                                                                                            Defendants'
           DAI,         fees      for        security            personnel                to     remediate                                             surveillance                 campaign,                 and          the


           limitations            caused             by    preventing                  DAI         from            worldwide                travel      to      any         of    the      countries             which


           honored         PRC          extradition               requests             and       elsewhere,                 and      thus      disabling             DAI         from       running            KHAN

           FUNDS'
                               worldwide               businesses                and       restricting              his      ability        to serve          as the           primary           executive             and


           global        figurehead             of KHAN               FUNDS.


                                                                                                       COUNT                 VI
                                                                                          CIVIL              CONSPIRACY


                          138.          Plaintiffs               reallege            and          incorporate                 by       reference              all      prior        paragraphs                  of     this


          Complaint              as though             set forth           fully       herein.


                          139.          As          described               above,                    Defendants,                    together            with           others,            did       knowingly,


          intentionally,                and        corruptly          conspire             to      inflict         harm        upon           DAI      using          the      tactic      of     criminalizing


          DAI       and     forcibly           repatriating                him      to the PRC.


                          140.          To this           end,     as described                  above            and upon             information              and      belief,         Defendants                  had     a


          meeting          of the        minds            on the      object           or course              of action            of the       conspiracy               and       formed          one        or more


          agreements              for     the       purpose           of    carrying              out        the     objective           of     the     conspiracy                to inflict         harm            upon


          DAI.        Accordingly,                  each       of the       defendants                  had        direct      involvement                in coordinating                    and        organizing


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           the      campaign                   to inflict        harm         upon       DAI.


                            141.                As      described             above,       at least          one       member               of the        conspiracy                  committed              at least     one

                                                                                                                                      Defendants'
           over       act          to     further          the       object       or     course         of     action          of                                 conspiratorial                     agreement            and


           each       defendant                   knowingly                 agreed       to conspire             with         each        other        to commit                  the    acts      described         herein


           in furtherance                       of this        common            scheme.


                            142.                As        described             above,       pursuant                 to,     and      in      furtherance                  of,       this      common            scheme,


           SUN        committed                      overt       acts,       including           arranging              for    providing               false     information                    to the PRC police


           bureau       and              encouraging                 and planning                for    the     scheme              to occur.


                            143.                As      described             above,       the     affirmative                 steps        Defendants                have            taken        in furtherance           of


           the      conspiracy                   have        proximately                damaged              Plaintiffs             and     Plaintiffs           suffered               injury       as a proximate


           result      of these                 wrongful             acts.


                            144.                As      described             above,       all    of the         surveillance                  carried         out      against              DAI      in    the   State     of


           New        York              was       for      the   benefit          of,    with      the       knowledge                 and        consent            of,     and         under       the     control      of,


           SUN        and           the       other       defendants.


                                                                                          PRAYER                    FOR            RELIEF


           WHEREFORE,                                   Plaintiffs           demand        judgment                   against         Defendants                 on        all     Counts,           and     seeks      such


           relief     as specified                      below         for     all Counts          for    which               such     relief      is provided                    by     law:


                            (i)                 Awarding               Plaintiffs          damages               in     an         amount         to      be    determined,                     including         but     not

                                                                                                                                                          Plaintiffs'
           limited           to         all    damages               and      losses      suffered             by      Plaintiffs,             and                                 subsequent               response        to


           and      remediation                      related         thereto;


                            (ii)                Awarding               Plaintiffs         compensatory                        and    treble        damages,                 as available,                  in an amount


           to be proven                       at trial;


                            (iii)                Awarding              Plaintiffs         the      financial                gain     earned          by     Defendants                   as a consequence                  of




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           the violations          described        herein;


                      (iv)           Awarding           Plaintiffs       statutory       damages,              as available;



                      (v)            Awarding           Plaintiffs       punitive        damages,            as available;



                      (vi)           Issuing       an     injunction           preventing             and      restraining           Defendants                  and     their     officers,


           agents,     servants,            employees,          assigns,          and    those        acting       in     active          concert          or    participation           with



           them,     from      any     continued         violation        of      18 U.S.C.        §§ 1962(c)              and     1962(d).

                                                                                                 attorneys'
                      (vii)          Awarding           Plaintiffs       all   costs     and                            fees     to the      full       extent         permitted       under


           the   applicable          law;


                                                        Plaintiff       pre-      and post-judgment                 interest         as permitted                                and
                      (viii)         Awarding                                                                                                                    by    law;


                      (ix)           Awarding           any     other    relief      as the     Court        may        deem       just     and      proper.


                                                                                  JURY        DEMAND

                      Plaintiffs        demand          trial   by jury        in this    action        of all     issues        so triable.




           Dated:     Garden          City,    New York
                      April        6, 2022
                                                                                          KENNETH                   S. FERARU,                      P.C.


                                                                                          By:               /s/ Kenneth            S. Feraru
                                                                                                      Kenneth            Feraru,          Esq.
                                                                                                       1225      Franklin          Ave.,         Ste.      325
                                                                                                       Garden           City,    New        York        11530
                                                                                                       P: (516)535-3333
                                                                                                       KFeraruesq@aol.com




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                                             LAW        OFFICES                OF WEI          GU,      ESQ.,   P.C.


                                             By:          /s/ Wei       Gu
                                                        Wei     Gu,    Esq.
                                                        13514       Northern          Blvd.,     Flr.   2

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                                                        P: (718)       600-6886
                                                        WeiGulaw@gmail.com


                                             Attorneys        for     Plaint    ffs




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          SUPREME                      COURT              OF THE                STATE           OF NEW               YORK
          COUNTY                  OF NEW YORK

            KHAN           FUNDS               MANAGEMENT
                                        INC.      and XUEFENG                          DAL,                        Index        No.:
            AMERICA,


                                            Plaintiffs,


                           v.
                                                                                                                   VERIFICATION
            NATIONS                   TECHNOLOGIES                             INC.,
            NATIONS                   TECHNOLOOIES                             (USA)          INC.,
            Y1NGTONG                     SUN,          ZHAOXUE                    LUO,
            BAOXIN                HUANG,    JUNJIE                        YU,         and     DOES
            1-10     and         ROES 1-10,


                                            Defendants.

           STATE           OF FLORIDA                                                    :
                                                                                         SS:
           COUNTY                 OF [ P                            ach                 ]:


                        XUEFENG                    DAI,          being         duly     sworn,         deposes           and     says that:


                        1.               I am a plaintiff                      in the        above-captioned                   action,      as well       as the          President           and         Chief
          Executive               Officer         of      the     plaintiff,           KHAN            FUNDS              MANAGEMENT                         AMERICA,                   INC.,          in   this
           action.         As         such,       I have          personal             knowledge              of    the     facts        and    matters         set       forth      herein         and      am
           authorized             to make          the      foregoing             verification.


                        2.               I have           read      and        reviewed          the    foregoing               Complaint          and       am fully             familiar         with      the
           facts     and        allegations            contained           therein.            I hereby       state,       affirm        and    verify       that     each        of the allegations
           contained             in    this     Complaint                is true        and      accurate           to    the    best     of    my knowledge                      and    information,
           except       as for          those      allegations                 pled     therein        upon         information             and    belief,          and     as to each             of those

           allegations,               I believe        each        of them            to be true        and        accurate.


                                                                                                                                                                                                    belief,"
                        3.               My belief               that    the     allegations           pled        in the       Complaint          "upon         information                 and
           are true        and         accurate         is based          upon          my first-hand               knowledge              of certain           facts      averred           therein        and
           various         communications                        with     various            individuals           abMùt        or concerning             the       matters         alleged         therein.




                                                                                                                                               EFENO         DAI
           Sworn        to before              me on this
           day     of April,            2022




                     ARY          PUBLIC                                                                            ffe




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                                 CERTIFICATE                       OF CONFORMITY                               PURSUANT             TO       CPLR       2309(C)




           STATE           OF        FLORIDA                                      )


           COUNTY                OF        [                                      D
                                                              go       ch



                          I,     /dekt                             1        Ast                            f    5                     ,     an    attorney          at    iaw      duly
                                                                                         12ty,

           admitted            to practice           in the      State      of Elorida        and    residing          in the    State      of Florida,        do herby         certify


           that      the jurat          or proof          upon     the      annexed        Verification              of Xuefeng           Dai,    named        in   the   foregoing


            instrument               taken     before       Axel       Rojas,         a Notary      in the          State   of   Florida,        was   taken        in the   manner


            prescribed           by the        laws       of the       State    of Florida,         and,       based    upon      my review,           duly                          the
                                                                                                                                                               conforms)'Æ

            laws      thereof.




            Sworn         to before             e on
            this               day    of       Pri    (                  , 2022




                   tary    Public
             .




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